                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN


  In re:                                            §      Case No. 10-20759-DSO
                                                    §
  TransLogic Auto Carriers LLC                      §
                                                    §
                                                    §
                      Debtor(s)                     §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Randall L. Frank, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $343,946.00                 Assets Exempt:      NA
(without deducting any secured claims)



Total Distributions to                                    Claims Discharged
Claimants:                        $230,997.12             Without Payment:    NA

Total Expenses of
Administration:                   $309,042.24


        3)      Total gross receipts of $540,039.36 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $540,039.36 from the
liquidation of the property of the estate, which was distributed as follows:




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                                    CLAIMS            CLAIMS             CLAIMS             CLAIMS
                                  SCHEDULED          ASSERTED           ALLOWED              PAID
  Secured Claims
  (from Exhibit 3)                 $1,044,658.60     $3,502,335.90       $234,732.42        $147,916.65
  Priority Claims:
      Chapter 7 Admin.
      Fees and Charges                         NA     $309,042.24        $309,042.24        $309,042.24
       (from Exhibit 4)
      Prior Chapter Admin.
      Fees and Charges                         NA            $0.00              $0.00              $0.00
      (from Exhibit 5)
      Priority Unsecured
      Claims                            $9,071.68     $119,424.88        $117,026.51         $60,427.08
      (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit 7)          $3,283,991.33     $1,580,346.06      $1,549,675.04        $22,653.39

    Total Disbursements            $4,337,721.61     $5,511,149.08      $2,210,476.21       $540,039.36

        4). This case was originally filed under chapter 7 on 03/02/2010. The case was pending
  for 86 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 05/19/2017                              By: /s/ Randall L. Frank
                                                        /Ra Trustee
                                                        nda
                                                        ll L.
                                                        Fra
                                                        nk

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                  EXHIBITS TO
                                                 FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                       UNIFORM                        AMOUNT
                                                                         TRAN. CODE                     RECEIVED
Outstanding accounts receiveable                                          1121-000                           $341.34
Dodge Charger in the possession of Rick Coley.                            1129-000                         $9,500.00
ATTM Settlement                                                           1229-000                            $70.74
Midwestern Car Carriers/Randall Wills                                     1229-000                         $1,500.00
Mass. Pref. against William Cutler                                        1241-000                        $30,400.00
Lynn Tetro                                                                1249-000                         $7,500.00
Potential Claim against Chrysler                                          1249-000                        $95,000.00
Potential Claim against Ford                                              1249-000                       $150,000.00
Potential Claim against GM                                                1249-000                       $100,000.00
Interest Earned                                                           1270-000                                $2.87
Unclaimed Funds                                                           1290-000                       $145,724.41
TOTAL GROSS RECEIPTS                                                                                     $540,039.36

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM            CLAIMANT            UNIFORM             CLAIMS             CLAIMS   CLAIMS               CLAIMS
NUMBER                               TRAN. CODE        SCHEDULED           ASSERTED ALLOWED                  PAID
    16a       Jeff Rubin              4110-000                   $0.00       $2,146.62          $0.00             $0.00
    16A       Jeff Rubin              4110-000                   $0.00       $2,146.62          $0.00             $0.00
    47A       S.C. Department         4110-000                   $0.00       $3,044.59          $0.00             $0.00
              of Revenue
    47a       S.C. Department         4110-000                   $0.00       $3,044.59          $0.00             $0.00
              of Revenue
     50       Michigan                4110-000                   $0.00      $88,123.51          $0.00     $11,438.43
              Department of
              Treasury
    50A       Michigan                4110-000                   $0.00      $88,254.20     $88,254.20             $0.00
              Department of
              Treasury
     63       Fifth Third Bank        4110-000          $1,039,543.00 $3,245,311.00        $93,147.34     $83,147.34
     80       Colorado                4110-000               $4,934.89       $4,973.84          $0.00             $0.00
              Department of
              Revenue
     84       Huron County            4110-000                   $0.00       $4,257.71          $0.00             $0.00
              Treasurer
     92       S.C. Department         4110-000                   $0.00       $3,044.59          $0.00             $0.00

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              of Revenue
    105       Culligan (Flat          4110-000              $180.71        $383.97            $0.00         $0.00
              Rock)
    108       Charter Township        4110-000                $0.00       $4,273.78           $0.00         $0.00
              of Brownstown
              Fifth Third Bank        4210-000                $0.00      $53,330.88      $53,330.88    $53,330.88
TOTAL SECURED CLAIMS                                   $1,044,658.60 $3,502,335.90      $234,732.42   $147,916.65


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE                UNIFORM                 CLAIMS   CLAIMS                CLAIMS               CLAIMS
                           TRAN. CODE            SCHEDULED ASSERTED              ALLOWED                  PAID
Randall L. Frank,              2100-000                    NA     $30,251.97          $30,251.97       $30,251.97
Trustee
Randall L. Frank,              2200-000                    NA         $588.18           $588.18          $588.18
Trustee
Myers Reese                    2300-000                    NA          $61.65            $61.65           $61.65
Myers-Reese                    2300-000                    NA          $65.33            $65.33           $65.33
Myers-Reese                    2300-000                    NA          $95.15            $95.15           $95.15
Insurance Agency
Bank of Texas                  2600-000                    NA      $3,251.48           $3,251.48        $3,251.48
U.S. Bankruptcy                2700-000                    NA      $3,809.00           $3,809.00        $3,809.00
Court
Bienenstock Court              2990-000                    NA         $190.00           $190.00          $190.00
Reporting
Fees, Attorney for             3210-000                    NA     $20,406.00          $20,406.00       $20,406.00
Trustee
Fees, Attorney for             3210-000                    NA    $118,689.00     $118,689.00          $118,689.00
Trustee
Fees, Special Counsel          3210-600                    NA     $57,774.50          $57,774.50       $57,774.50
for Trustee
Strobl & Sharp, PC,            3210-600                    NA     $58,000.00          $58,000.00       $58,000.00
Special Counsel for
Trustee
Expenses, Attorney             3220-000                    NA      $5,353.79           $5,353.79        $5,353.79
for Trustee
Expenses, Special              3220-610                    NA      $5,563.75           $5,563.75        $5,563.75
Counsel for Trustee
McDonald &                     3410-000                    NA      $2,968.25           $2,968.25        $2,968.25
Associates, CPA's,
Accountant for
Trustee
Fees, Auctioneer for           3610-000                    NA         $950.00           $950.00          $950.00
Trustee
Expenses, Auctioneer           3620-000                    NA         $824.19           $824.19          $824.19
for Trustee
Bodman Law,                    3721-000                    NA         $200.00           $200.00          $200.00
Arbitrator/Mediator
for Trustee
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TOTAL CHAPTER 7 ADMIN. FEES AND                       NA   $309,042.24    $309,042.24       $309,042.24
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM          CLAIMANT           UNIFORM         CLAIMS          CLAIMS   CLAIMS            CLAIMS
NUMBER                            TRAN. CODE    SCHEDULED        ASSERTED ALLOWED               PAID
     43       Lisa Koglin          5300-000             $0.00      $1,020.00    $1,020.00      $737.97
     43       Lisa Koglin          5400-000             $0.00      $5,523.00    $5,523.00     $5,523.00
    47b       S.C. Department      5800-000             $0.00      $1,029.53        $0.00         $0.00
              of Revenue
    47b       S.C. Department      5800-000             $0.00      $1,029.53    $1,029.53     $1,029.53
              of Revenue
     51       Michigan             5800-000             $0.00       $960.56         $0.00      $960.56
              Department of
              Treasury
    51A       Michigan             5800-000             $0.00     $57,559.99   $57,559.99         $0.00
              Department of
              Treasury
     59       Spike Owens          5300-000             $0.00      $1,426.56    $1,426.56     $1,032.11
    61a       Florida              5800-000           $330.32       $408.28      $408.28       $408.28
              Department of
              Revenue
    61A       Florida              5800-000             $0.00       $408.28         $0.00         $0.00
              Department of
              Revenue
     62       Ohio Department      5800-000             $0.00       $132.93      $132.93       $132.93
              of Job & Family
              Services
     64       Susan Iseler         5300-000             $0.00      $2,445.32    $2,445.32     $1,769.18
    64A       Susan Iseler         5400-000             $0.00       $346.16      $346.16       $346.16
     65       Kim Ziehm            5300-000             $0.00      $3,245.63    $3,245.63     $2,348.22
     67       Michelle Jarson      5300-000             $0.00      $1,228.00    $1,228.00      $888.45
    67A       Michelle Jarson      5400-000             $0.00       $970.12      $970.12       $970.12
    70A       Tracy Bicher         5300-000             $0.00       $223.00      $223.00       $161.34
     70       Tracy Bicher         5400-000             $0.00      $2,158.00    $2,158.00     $2,158.00
     79       NM Taxation &        5800-000             $0.00      $1,000.00    $1,000.00     $1,000.00
              Revenue
              Department
     91       Wyoming Dept.        5800-000          $2,601.66    $13,655.04   $13,655.04    $13,655.04
              Of Employment
     93       R. I. Division of    5800-000          $5,991.70     $1,000.00    $1,000.00     $1,000.00
              Taxation
     96       Mississippi          5800-000             $0.00      $1,635.00    $1,635.00     $1,635.00
              Department of
              Revenue

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     97       Indiana             5800-000             $0.00       $114.35       $114.35      $114.35
              Department of
              Workforce
              Development
     99       Indiana             5800-000             $0.00      $5,285.72     $5,285.72    $5,285.72
              Department of
              Revenue
    101       Oklahoma Tax        5800-000             $0.00      $5,363.84     $5,363.84    $5,363.84
              Commission
    103       Arkansas Dept. of   5800-000             $0.00       $928.00       $928.00      $928.00
              Finance and
              Administration
    104       State of New        5800-000             $0.00      $3,000.00     $3,000.00    $3,000.00
              Jersey
    109       Virginia            5800-000           $148.00      $6,000.00     $6,000.00    $6,000.00
              Department of
              Taxation
              INTERNAL            5300-000             $0.00          $0.00         $0.00    $1,438.27
              REVENUE
              SERVICE
              Federal
              Withholding
              (Employee)
              INTERNAL            5300-000             $0.00          $0.00         $0.00     $139.04
              REVENUE
              SERVICE
              Medicare
              (Employee)
              INTERNAL            5300-000             $0.00          $0.00         $0.00     $594.50
              REVENUE
              SERVICE Social
              Security
              (Employee)
              STATE OF            5300-000             $0.00          $0.00         $0.00     $479.43
              MICHIGAN
              State Withholding
              (Employee)
              INTERNAL            5800-000             $0.00       $594.50       $594.50      $594.50
              REVENUE
              SERVICE
              Federal
              Unemployment
              (Employer)
              INTERNAL            5800-000             $0.00       $139.04       $139.04      $139.04
              REVENUE
              SERVICE
              Medicare
              (Employer)
              INTERNAL            5800-000             $0.00       $594.50       $594.50      $594.50
              REVENUE
              SERVICE Social
              Security
              (Employer)
TOTAL PRIORITY UNSECURED CLAIMS                     $9,071.68   $119,424.88   $117,026.51   $60,427.08

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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT            UNIFORM         CLAIMS          CLAIMS   CLAIMS           CLAIMS
NUMBER                             TRAN. CODE    SCHEDULED        ASSERTED ALLOWED              PAID
     1        UNITED                7100-000          $5,237.08     $2,645.48     $2,645.48     $51.84
              PARCEL
              SERVICE
     2        Barris, Sott, Denn    7100-000         $10,845.95    $16,389.97    $16,389.97    $321.24
              & Driker,
              P.L.L.C.
     3        Strategic             7100-000         $17,760.00    $16,955.02    $16,955.02    $332.31
              Protection Group
     4        The Waggoners         7100-000              $0.00    $20,042.00    $20,042.00    $392.82
              Trucking
     5        Stewart Trans.        7100-000         $12,890.00     $3,315.00     $3,315.00     $64.97
              Solutions, LLC
     6        Kerr, Russell and     7100-000              $0.00   $112,592.05   $112,592.05   $2,206.77
              Weber, PLC
     7        BBT Trucking,         7100-000           $735.00       $660.00       $660.00      $12.94
              Inc
     8        Bill's Auto           7100-000          $1,976.72     $1,074.84     $1,074.84     $21.07
              Transportation
              Inc
     9        Janitorial            7100-000           $743.75       $743.75       $743.75       $0.00
              Enterprises, Inc.
     10       Team                  7100-000         $14,982.50    $14,982.50    $14,982.50    $293.65
              Technology, Inc.
     11       Six Nations, Inc.     7100-000         $45,636.10    $23,758.20    $23,758.20    $465.65
     12       Corporate             7100-000           $260.92       $434.85       $434.85       $8.52
              Lodging
              Consultants
     13       Truck Town            7100-000          $2,850.00     $2,850.00     $2,850.00     $55.86
              Transport Inc
     14       TransCore LP          7100-000          $2,466.28     $2,473.28     $2,473.28     $48.48
     15       Ray Vickers Auto      7100-000          $1,106.55     $1,130.50     $1,130.50     $22.16
              Transport
     16       Jeff Rubin            7100-000         $23,374.00    $21,227.52         $0.00    $416.05
    16b       Jeff Rubin            7100-000              $0.00    $21,227.52    $21,227.52      $0.00
     17       DM's Tr dba           7100-000            $34.05      $6,075.96     $6,075.96      $0.00
              Donald Murdock
              Jr
     18       towXchange            7100-000              $0.00    $71,632.53    $71,632.53   $1,403.98
     19       Metro Transport       7100-000          $1,457.03     $4,126.81     $4,126.81      $0.00
              LLC
     20       Kruz'n Transport,     7100-000          $4,435.00     $4,020.00     $4,020.00      $0.00
              Inc
     21       Crawford Auto         7100-000          $3,600.00     $5,256.00     $5,256.00    $103.02
              Transport

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     22       Ash Township        7100-000          $5,120.13      $99.77       $99.77       $0.00
     23       Huffmaster Crisis   7100-000         $18,250.00   $75,892.16   $75,892.16   $1,487.46
              Response LLC
     24       SDL                 7100-000           $560.00     $1,055.00    $1,055.00     $20.68
              Transportation
              Inc
     25       Covey Auto          7100-000         $11,963.26    $6,536.98    $6,536.98    $128.12
              Express, Inc.
     26       Big Sky Auto        7100-000          $2,300.00    $2,300.00    $2,300.00     $45.08
              Transport
     27       CNC Holdings        7100-000              $0.00   $12,133.75   $12,133.75      $0.00
     28       Randy McNally       7100-000              $0.00    $2,048.72    $2,048.72     $40.15
     29       Coryell & Sons      7100-000          $3,319.65    $3,391.50    $3,391.50      $0.00
              Transport LLC
     30       Michigan Cat        7100-000          $1,389.30    $1,541.97    $1,541.97     $30.22
     31       Midwest Auto        7100-000         $12,930.00   $11,625.00   $11,625.00      $0.00
              Carriers, Inc
     32       MN Transport        7100-000           $800.00      $800.00      $800.00      $15.68
              dba Nicholas, M
     33       American Express    7100-000         $51,349.03   $51,348.69   $51,348.69   $1,006.42
              Bank FSB
     34       Wyoming Dept.       7100-000              $0.00   $13,655.04   $13,655.04    $267.63
              Of Employment
     35       Junior Compton      7100-000           $723.00      $723.00      $723.00      $14.17
              Motors, Inc
     36       Utica-Shelby        7100-000          $1,450.00    $1,600.00    $1,600.00     $31.36
              Automotive, Inc
     37       Schalte Trucking    7100-000          $3,600.00    $3,600.00    $3,600.00     $70.56
     38       Prestige Auto       7100-000          $3,720.80    $3,566.80    $3,566.80      $0.00
              Transport dba
     39       Mid-Western Car     7100-000          $8,739.30    $4,369.65    $4,369.65     $85.64
              Carriers, Inc
     40       U.S. Department     7100-000              $0.00   $10,585.85   $10,585.85      $0.00
              of Labor
     41       U.S. Department     7100-000              $0.00    $5,332.28    $5,332.28      $0.00
              of Labor
     42       Eric Nowakowski     7100-000              $0.00    $3,415.56    $3,415.56     $66.94
     44       Constangy,          7100-000          $9,105.49    $9,105.49    $9,105.49    $178.46
              Brooks & Smith
     45       Bill Keen           7100-000          $4,863.00    $3,783.00    $3,783.00     $74.15
              Trucking, Inc.
     46       SGS North           7100-000          $5,255.61   $17,570.24   $17,570.24    $344.37
              America, Inc.
     47       S.C. Department     7100-000              $0.00    $1,297.50        $0.00     $25.43
              of Revenue
    47c       S.C. Department     7100-000              $0.00    $1,297.50    $1,297.50      $0.00
              of Revenue
     48       Marlin Leasing      7100-000              $0.00   $51,222.82   $51,222.82   $1,003.95

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              Corporation
     49       Marlin Leasing       7100-000          $10,757.04    $17,999.22    $17,999.22    $352.78
              Corporation
     52       Michigan             7100-000               $0.00     $7,996.00         $0.00    $156.72
              Department of
              Treasury
    52A       Michigan             7100-000               $0.00     $9,582.86     $9,582.86      $0.00
              Department of
              Treasury
     53       Missionary Auto      7100-000            $660.00       $600.00       $600.00      $11.76
              Sales, Service
     54       Illinois             7100-000               $0.00     $1,121.83     $1,121.83     $21.99
              Department of
              Employment
              Security
     55       Rehmann Robson       7100-000               $0.00      $864.50       $864.50      $16.94
     56       New York State       7100-000               $0.00      $597.40       $597.40      $11.71
              Thruway
              Authority
     57       Connecticut, State   7100-000             $93.00          $0.00         $0.00      $0.00
              of / Office of the
              Treasurer
     58       VERIZON              7100-000           $3,658.28     $8,023.73     $8,023.73      $0.00
              WIRELESS
     60       CONSUMERS            7100-000            $147.57       $250.42       $250.42       $0.00
              ENERGY
              COMPANY
     61       Florida              7100-000               $0.00      $150.00          $0.00      $0.00
              Department of
              Revenue
    61b       Florida              7100-000               $0.00      $150.00       $150.00       $0.00
              Department of
              Revenue
    62a       Ohio Department      7100-000               $0.00      $209.02       $209.02       $0.00
              of Job & Family
              Services
     66       IKON Financial       7100-000            $809.49      $1,002.89     $1,002.89     $19.66
              Services
     68       Oakwood              7100-000          $26,966.00    $26,996.00    $26,996.00    $529.11
              Transport dba
              Ontario
     69       M & M Trucking       7100-000            $169.18      $2,449.91     $2,449.91     $48.02
     71       Garnica Auto         7100-000          $29,990.00    $56,285.00    $56,285.00   $1,103.17
              Transport dba
     72       Asphalt              7100-000           $8,710.00     $8,710.00     $8,710.00    $170.71
              Specialists Inc
     73       DBI Flatrock,        7100-000         $141,281.73   $265,502.22   $265,502.22   $5,203.76
              LLC
     74       Leah Building        7100-000          $42,500.00   $100,967.49   $100,967.49   $1,978.93
              Company, LLC


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     75       Lovings               7100-000         $7,500.00    $7,500.00    $7,500.00   $147.00
              Transport
     76       AARTS Towing          7100-000          $730.00      $730.00      $730.00      $0.00
              Inc
     77       Loff dba Loeffler,    7100-000        $14,350.26   $10,080.97   $10,080.97     $0.00
              Eric J
     78       R&R                   7200-000         $1,310.00    $1,310.00    $1,310.00     $0.00
              Automotive
              Transport Inc
    79a       NM Taxation &         7200-000             $0.00    $3,500.00    $3,500.00     $0.00
              Revenue
              Department
     81       Champion Auto         7200-000         $7,630.79    $2,456.61    $2,456.61     $0.00
              Carriers, Inc
     82       Spitali Auto          7200-000         $1,490.00    $1,500.00    $1,500.00     $0.00
              Transport dba
     83       Commonwealth          7200-000             $0.00   $27,461.94   $27,461.94     $0.00
              of Massachusetts
     85       ICS/DSI dba           7200-000         $1,485.00    $2,185.00    $2,185.00     $0.00
              Polar King
     86       Michigan Cat          7200-000             $0.00    $1,541.97    $1,541.97     $0.00
     87       The Waggoners         7200-000         $5,912.00   $20,042.00   $20,042.00     $0.00
              Trucking
     88       L & T Auto            7200-000         $5,088.22    $5,279.70    $5,279.70     $0.00
              Group LLC
     89       Progress Energy       7200-000        $19,510.87   $19,510.87   $19,510.87     $0.00
              Florida, Inc
     90       D.C.A.R.              7200-000        $44,832.81   $39,432.81   $39,432.81     $0.00
     94       Locked & Loaded       7200-000          $681.00     $4,800.00    $4,800.00     $0.00
              Trans dba Soto
     95       Schafer and           7200-000             $0.00   $18,612.03   $18,612.03     $0.00
              Weiner, PLLC
    96a       Mississippi           7200-000             $0.00     $345.00      $345.00      $0.00
              Department of
              Revenue
    97a       Indiana               7200-000             $0.00     $259.73      $259.73      $0.00
              Department of
              Workforce
              Development
     98       Jack Cooper           7200-000        $77,296.00   $77,720.00   $77,720.00     $0.00
              Transport Inc
    99a       Indiana               7200-000             $0.00     $353.23      $353.23      $0.00
              Department of
              Revenue
    100       towXchange            7200-000        $75,132.53   $71,632.53   $71,632.53     $0.00
    101a      Oklahoma Tax          7200-000             $0.00     $705.00      $705.00      $0.00
              Commission
    102       Atlantic Car          7200-000          $690.00      $690.00      $690.00      $0.00
              Carriers, Inc
    103a      Arkansas Dept. of     7200-000             $0.00     $436.63      $436.63      $0.00
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              Finance and
              Administration
    106       Jet-T Towing         7200-000         $2,550.00    $2,550.00    $2,550.00      $0.00
    107       Michael              7100-000            $0.00     $6,780.00    $6,780.00      $0.00
              McDonald
    110       CNC Holdings,        7200-000            $0.00    $18,000.00   $18,000.00      $0.00
              LLC
    111       ANIVA                7200-000            $0.00    $42,928.45   $42,928.45      $0.00
              Enterprises, LLC
    112       PDT Transport        7200-000          $211.11     $6,769.21    $6,769.21      $0.00
              Inc
    113       Papa's Transport     7200-000         $9,733.40   $15,800.00   $15,800.00      $0.00
              Inc
    114       Kerr, Russell and    7200-000            $0.00         $0.00        $0.00      $0.00
              Weber, PLC
    115       Colorado             7200-000           $10.00     $6,461.84    $6,461.84      $0.00
              Department of
              Revenue
    116       New York State       7200-000            $0.00         $0.00        $0.00      $0.00
              Department of
              Taxation and
              Finance
              CLERK, U.S.          7100-001            $0.00     $1,723.33    $1,723.33   $1,723.33
              BANKRUPTCY
              COURT
              1st Base             7100-000          $400.00         $0.00        $0.00      $0.00
              Transport dba
              1st Choice Auto      7100-000          $130.00         $0.00        $0.00      $0.00
              Transport dba
              2 Cap                7100-000          $120.00         $0.00        $0.00      $0.00
              Investments LLC
              209 Auto             7100-000          $275.00         $0.00        $0.00      $0.00
              Transport dba
              Tobias
              2K Transportation    7100-000          $887.84         $0.00        $0.00      $0.00
              LLC
              3 At A Time dba      7100-000         $1,275.00        $0.00        $0.00      $0.00
              SDS Doom LLC
              3B                   7100-000          $150.00         $0.00        $0.00      $0.00
              Transportation
              360 Transport        7100-000          $360.00         $0.00        $0.00      $0.00
              LLC
              3J's Auto            7100-000          $175.00         $0.00        $0.00      $0.00
              Transport
              A & D Auto           7100-000          $275.00         $0.00        $0.00      $0.00
              Transport dba
              McRae
              A & D Auto           7100-000          $100.00         $0.00        $0.00      $0.00
              Transport LLC
              A & M Transport      7100-000          $160.00         $0.00        $0.00      $0.00

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              Inc dba
              A & R Trans.dba      7100-000          $130.00       $0.00       $0.00     $0.00
              Eloy Rodriguez
              A & TMP Auto         7100-000          $405.00       $0.00       $0.00     $0.00
              Transporters dba
              A 2 Z Transport      7100-000          $250.00       $0.00       $0.00     $0.00
              dba Bradshaw L
              A A & A Auto         7100-000          $320.00       $0.00       $0.00     $0.00
              Transport, Inc.
              A Excellence         7100-000         $2,355.00      $0.00       $0.00     $0.00
              Service, Inc
              A-1 Auto             7100-000         $9,280.50      $0.00       $0.00     $0.00
              Transport, Inc
              AATKA Inc            7100-000          $150.00       $0.00       $0.00     $0.00
              Abadata              7100-000           $68.00       $0.00       $0.00     $0.00
              Computer Corp,
              Inc.
              ABM Auto             7100-000          $170.00       $0.00       $0.00     $0.00
              Transport, Inc.
              Absolute Auto        7100-000          $250.00       $0.00       $0.00     $0.00
              Transport/Towing
              Acadia Towing        7100-000         $3,525.00      $0.00       $0.00     $0.00
              Accurate Auto        7100-000         $9,155.18      $0.00       $0.00     $0.00
              Carriers, Inc
              Action Transport     7100-000          $320.00       $0.00       $0.00     $0.00
              dba Wombles
              Adams Family         7100-000          $875.00       $0.00       $0.00     $0.00
              Transport dba
              ADP Payroll          7100-000        $43,595.18      $0.00       $0.00     $0.00
              Advanced Plastic     7100-000          $240.00       $0.00       $0.00     $0.00
              Coating Serv
              Affordable           7100-000          $221.31       $0.00       $0.00     $0.00
              Vehicle Trans dba
              AG Transport, Inc    7100-000         $1,104.58      $0.00       $0.00     $0.00
              Aimee's              7100-000          $450.00       $0.00       $0.00     $0.00
              Transport
              Service, Inc
              AKA Truck LLC        7100-000          $900.00       $0.00       $0.00     $0.00
              dba Todd,
              Thomas
              Alert Alarm &        7100-000           $60.00       $0.00       $0.00     $0.00
              Security
              All About            7100-000          $290.00       $0.00       $0.00     $0.00
              Towing Inc
              All Maintenance      7100-000          $525.56       $0.00       $0.00     $0.00
              Inc
              All Points LLC       7100-000        $23,615.71      $0.00       $0.00     $0.00
              dba Land, Vince
              All to Z, Inc.       7100-000        $10,682.26      $0.00       $0.00     $0.00

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              All Wheels          7100-000          $175.00       $0.00       $0.00     $0.00
              Recovery, Inc
              Alley Cat           7100-000          $100.00       $0.00       $0.00     $0.00
              Transport
              dbaAlley Cat
              Transport dba
              Alliance            7100-000          $240.00       $0.00       $0.00     $0.00
              Transportation
              Corp
              Allied Substance    7100-000          $250.65       $0.00       $0.00     $0.00
              Abuse Prof.
              Allstar Hauling,    7100-000         $5,545.00      $0.00       $0.00     $0.00
              Inc.
              Amazula             7100-000        $12,816.00      $0.00       $0.00     $0.00
              Transport Inc
              American Auto       7100-000           $80.00       $0.00       $0.00     $0.00
              Moving, Inc
              American Output     7100-000          $288.27       $0.00       $0.00     $0.00
              American            7100-000          $150.00       $0.00       $0.00     $0.00
              Transport dba
              Ameriplan           7100-000        $69,614.48      $0.00       $0.00     $0.00
              Benefit
              Corporation
              Anderson Towing     7100-000          $120.00       $0.00       $0.00     $0.00
              dba Ansco Inc.
              Andres Towing       7100-000          $680.00       $0.00       $0.00     $0.00
              Services Inc
              Anointed Auto       7100-000          $340.00       $0.00       $0.00     $0.00
              Transportation
              Anthony R.          7100-000          $450.00       $0.00       $0.00     $0.00
              Haywood Trans.
              dba
              ANX eBusiness       7100-000        $12,460.95      $0.00       $0.00     $0.00
              Corp
              ASAP Auto           7100-000          $130.00       $0.00       $0.00     $0.00
              Transport LLC
              Aslinger Auto       7100-000         $1,255.00      $0.00       $0.00     $0.00
              Transport, Inc
              Association         7100-000        $23,841.87      $0.00       $0.00     $0.00
              Benefits
              AT&T (Berlin)       7100-000          $145.88       $0.00       $0.00     $0.00
              AT&T Mobility       7100-000          $168.19       $0.00       $0.00     $0.00
              Atkins Trucking     7100-000          $160.00       $0.00       $0.00     $0.00
              Interna., Inc.
              Atkinson Hauling    7100-000          $180.00       $0.00       $0.00     $0.00
              Inc.
              Aurico Reports      7100-000           $90.00       $0.00       $0.00     $0.00
              Auto 1 Transport    7100-000         $2,466.03      $0.00       $0.00     $0.00
              Inc

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              Auto America         7100-000          $825.00       $0.00       $0.00     $0.00
              dba Lipp, Robert
              Auto Carrier         7100-000          $480.00       $0.00       $0.00     $0.00
              Express
              Auto Drome, The      7100-000          $320.00       $0.00       $0.00     $0.00
              LLC
              Auto Express         7100-000         $6,740.00      $0.00       $0.00     $0.00
              Auto Express         7100-000          $500.00       $0.00       $0.00     $0.00
              Transport, Inc
              Auto Transport       7100-000        $23,546.51      $0.00       $0.00     $0.00
              Group-UT
              Auto Transport       7100-000          $625.00       $0.00       $0.00     $0.00
              Incorporated
              Auto Transport       7100-000         $3,130.64      $0.00       $0.00     $0.00
              Services, Inc
              AutoComm, Inc.       7100-000         $5,170.05      $0.00       $0.00     $0.00
              Automobile           7100-000          $320.00       $0.00       $0.00     $0.00
              Relocation
              Serv,LLC
              Automobile           7100-000         $1,349.60      $0.00       $0.00     $0.00
              Transport
              Clearing
              Automobile           7100-000         $3,588.02      $0.00       $0.00     $0.00
              Transport
              Specialis
              Autotech             7100-000          $800.00       $0.00       $0.00     $0.00
              Repossessions Inc
              AV Transport dba     7100-000          $130.00       $0.00       $0.00     $0.00
              Vilares, A
              Avery Transport      7100-000          $200.00       $0.00       $0.00     $0.00
              Inc
              AWS Transport        7100-000        $11,141.91      $0.00       $0.00     $0.00
              Services, Inc
              B&B                  7100-000         $1,215.00      $0.00       $0.00     $0.00
              Enterprises
              B & B Transport      7100-000          $962.62       $0.00       $0.00     $0.00
              B&B                  7100-000         $1,700.00      $0.00       $0.00     $0.00
              Transporters,
              LLC.
              B & D Auto           7100-000          $370.00       $0.00       $0.00     $0.00
              Tr.dba Johnny
              Burns
              B Line 2             7100-000          $300.00       $0.00       $0.00     $0.00
              Trucking LLC
              Baker Transport      7100-000         $3,670.00      $0.00       $0.00     $0.00
              Bartlett Towing      7100-000         $7,305.00      $0.00       $0.00     $0.00
              Inc.
              Batista & Son        7100-000         $5,836.66      $0.00       $0.00     $0.00
              BBT Trucking,        7100-000          $660.00       $0.00       $0.00     $0.00

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              Inc
              Be-st Auto           7100-000          $500.00       $0.00       $0.00     $0.00
              Transport LLC
              Bearden Tra.dba      7100-000          $675.00       $0.00       $0.00     $0.00
              Stacey Bearden
              Beaver Auto          7100-000          $625.00       $0.00       $0.00     $0.00
              Transport dba
              Beltrans dba         7100-000          $130.00       $0.00       $0.00     $0.00
              Zhurko, V & P
              Benefield Hauling    7100-000          $875.00       $0.00       $0.00     $0.00
              dba
              Berlin Charter       7100-000         $3,681.55      $0.00       $0.00     $0.00
              Township
              Bestway Truck        7100-000          $527.69       $0.00       $0.00     $0.00
              Repair, LLC
              Better Haul Auto     7100-000          $575.00       $0.00       $0.00     $0.00
              Trans., Inc.
              Beverly Brothers     7100-000           $75.00       $0.00       $0.00     $0.00
              Transport
              Big Creek Farms      7100-000         $9,688.00      $0.00       $0.00     $0.00
              Entr. dba
              Big T Trucking       7100-000         $3,225.00      $0.00       $0.00     $0.00
              Inc
              Bills Auto           7100-000         $2,961.42      $0.00       $0.00     $0.00
              Transport, Inc
              Billy Sellers        7100-000         $2,000.00      $0.00       $0.00     $0.00
              Transport, Inc
              BK Transport dba     7100-000          $100.00       $0.00       $0.00     $0.00
              Kessel, Bryan
              Blue Line            7100-000          $180.00       $0.00       $0.00     $0.00
              Transport LLC
              Blue Mule            7100-000        $33,541.38      $0.00       $0.00     $0.00
              Transportation,
              LLC
              BMJ Transport        7100-000          $400.00       $0.00       $0.00     $0.00
              Inc
              Bob Norwood          7100-000          $260.00       $0.00       $0.00     $0.00
              Transport dba
              Booneville Auto      7100-000         $2,524.95      $0.00       $0.00     $0.00
              Sales
              BPD Transport        7100-000          $420.00       $0.00       $0.00     $0.00
              dba Dreyer, B
              Bridgestone          7100-000        $20,422.18      $0.00       $0.00     $0.00
              Firestone
              Broderick Auto       7100-000          $380.00       $0.00       $0.00     $0.00
              and Truck
              Brooks & Nellum      7100-000         $3,295.00      $0.00       $0.00     $0.00
              Power Hauling
              Brothers Auto        7100-000         $3,320.00      $0.00       $0.00     $0.00

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              Transport, Inc
              Brothers Motors     7100-000          $250.00       $0.00       $0.00     $0.00
              BTD Transport       7100-000          $380.00       $0.00       $0.00     $0.00
              dba Dixon, Brad
              Buccaneer           7100-000          $170.00       $0.00       $0.00     $0.00
              Vehicle
              Transportdba
              Buckeye             7100-000         $5,690.00      $0.00       $0.00     $0.00
              Transcor, Inc.
              Bullet Auto         7100-000          $933.10       $0.00       $0.00     $0.00
              Transport LLC
              Bullet of West      7100-000         $2,040.00      $0.00       $0.00     $0.00
              Palm Beach, Inc
              Burdine Tr.dba      7100-000          $805.00       $0.00       $0.00     $0.00
              Prentis Burdine
              Burns, Robert       7100-000         $2,267.64      $0.00       $0.00     $0.00
              (Chris)
              Buse Auto Sales     7100-000          $250.00       $0.00       $0.00     $0.00
              Bush Hauling        7100-000          $750.00       $0.00       $0.00     $0.00
              LLC dba Bush, F
              Busy Bee Towing     7100-000          $325.00       $0.00       $0.00     $0.00
              and Transport
              Byers Wrecker       7100-000          $213.00       $0.00       $0.00     $0.00
              Service Inc
              C & C Direct Inc    7100-000          $200.00       $0.00       $0.00     $0.00
              dba Murphy, B
              C & W Trucking      7100-000          $390.00       $0.00       $0.00     $0.00
              Inc
              C Brown             7100-000         $1,260.00      $0.00       $0.00     $0.00
              Trucking
              Company, Inc
              Cain's Auto         7100-000        $23,181.20      $0.00       $0.00     $0.00
              Transport, Inc.
              Cal Tex Auto        7100-000        $18,438.25      $0.00       $0.00     $0.00
              Movers, Inc
              Can-Tran dba        7100-000         $1,860.00      $0.00       $0.00     $0.00
              Don A. Grant
              Canton Township     7100-000         $2,080.76      $0.00       $0.00     $0.00
              Treasurer
              Car                 7100-000          $150.00       $0.00       $0.00     $0.00
              Transportation
              LLC
              Car-Go Express      7100-000         $2,000.00      $0.00       $0.00     $0.00
              Inc
              Cargo Carrier       7100-000         $1,070.00      $0.00       $0.00     $0.00
              CorporationCargo
              Carrier
              Corporation
              Carls Car           7100-000         $3,470.00      $0.00       $0.00     $0.00
              Carriers, Inc
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              Cars on the Move     7100-000          $470.00       $0.00       $0.00     $0.00
              dba Thompson
              Casteel Auto         7100-000          $620.00       $0.00       $0.00     $0.00
              Transport
              CAT Express Inc      7100-000          $461.32       $0.00       $0.00     $0.00
              CB Transit LLC       7100-000          $465.00       $0.00       $0.00     $0.00
              CCJ Auto             7100-000         $3,000.00      $0.00       $0.00     $0.00
              Transport
              Central Auto         7100-000         $8,280.00      $0.00       $0.00     $0.00
              Trucking, Inc
              Central Florida      7100-000          $565.00       $0.00       $0.00     $0.00
              Towing & Trans
              CG Auto              7100-000          $150.00       $0.00       $0.00     $0.00
              Transport dba
              Gonzulez
              Champion Auto        7100-000          $180.00       $0.00       $0.00     $0.00
              Transport LLC
              Chariots of Fire     7100-000          $800.00       $0.00       $0.00     $0.00
              Transport dba
              Charter Township     7100-000         $4,150.50      $0.00       $0.00     $0.00
              of Brownstown
              Chava Auto           7100-000        $15,350.00      $0.00       $0.00     $0.00
              Transport, Inc.
              Checkered Flag       7100-000          $300.00       $0.00       $0.00     $0.00
              Transport Inc
              Cherokee             7100-000        $18,237.59      $0.00       $0.00     $0.00
              Insurance
              Circle M             7100-000           $95.00       $0.00       $0.00     $0.00
              Transport Inc
              Citation             7100-000          $300.00       $0.00       $0.00     $0.00
              Processing Center
              City of Fort         7100-000           $50.00       $0.00       $0.00     $0.00
              Collins Parking
              CJ's Auto            7100-000          $540.00       $0.00       $0.00     $0.00
              Transport dba
              CMC United           7100-000          $200.00       $0.00       $0.00     $0.00
              Motors, Inc.
              Coastal Auto         7100-000          $200.00       $0.00       $0.00     $0.00
              Transport dba
              Cochran Carriers     7100-000          $220.00       $0.00       $0.00     $0.00
              LLC dba
              Cofields Garage      7100-000         $1,725.00      $0.00       $0.00     $0.00
              & Towing dba
              Colfax Township      7100-000         $1,579.74      $0.00       $0.00     $0.00
              Comcast              7100-000           $27.76       $0.00       $0.00     $0.00
              Commercial           7100-000           $90.00       $0.00       $0.00     $0.00
              Power Cleaners,
              Inc
              Commissioner of      7100-000          $136.30       $0.00       $0.00     $0.00

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              Taxation & Fin
              Conner's Carriers,    7100-000         $1,560.00      $0.00       $0.00     $0.00
              LLC
              Coop's Diesel         7100-000          $249.15       $0.00       $0.00     $0.00
              Service LLC
              Cornerstone           7100-000          $300.00       $0.00       $0.00     $0.00
              Trans. dba
              Klinger
              Country Inn &         7100-000           $77.70       $0.00       $0.00     $0.00
              Suites Petersbur
              Courtesy Auto         7100-000          $745.00       $0.00       $0.00     $0.00
              Transport
              Crossroads            7100-000           $29.14       $0.00       $0.00     $0.00
              Transport Inc
              CSX                   7100-000          $898.70       $0.00       $0.00     $0.00
              Transportation,
              Inc.
              CTC Transport         7100-000          $300.00       $0.00       $0.00     $0.00
              Inc
              Cutting Edge          7100-000         $1,950.00      $0.00       $0.00     $0.00
              D&D                   7100-000         $1,996.00      $0.00       $0.00     $0.00
              Transporting,
              LLC
              D & M Transport       7100-000          $180.00       $0.00       $0.00     $0.00
              Enterprises
              D & W Auto            7100-000         $3,510.00      $0.00       $0.00     $0.00
              Trans.dbaDennis
              Wead
              D4 Transport          7100-000          $435.00       $0.00       $0.00     $0.00
              LLC
              DAHL Transport        7100-000          $360.00       $0.00       $0.00     $0.00
              dba White, Russ
              Daniels               7100-000          $400.00       $0.00       $0.00     $0.00
              Transport, LLC
              Danner                7100-000         $1,812.23      $0.00       $0.00     $0.00
              Enterprises, Inc
              Dave Meeker           7100-000         $4,140.00      $0.00       $0.00     $0.00
              Auto
              De Emce, Inc          7100-000         $1,600.00      $0.00       $0.00     $0.00
              De Martin Auto        7100-000         $5,485.50      $0.00       $0.00     $0.00
              Transport
              Deep Rock Water       7100-000          $616.38       $0.00       $0.00     $0.00
              Company
              Dependable            7100-000         $1,380.00      $0.00       $0.00     $0.00
              Towing dba
              Bradley
              Destination           7100-000          $590.00       $0.00       $0.00     $0.00
              Unknown LLC
              Diamond Auto          7100-000          $400.00       $0.00       $0.00     $0.00
              Transport
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              Diamond Express      7100-000         $6,090.36      $0.00       $0.00     $0.00
              Transportation
              Direct Transport,    7100-000         $2,440.00      $0.00       $0.00     $0.00
              Inc
              Divine Auto          7100-000          $365.00       $0.00       $0.00     $0.00
              Transport Inc
              Dixon Auto           7100-000         $1,360.00      $0.00       $0.00     $0.00
              Transport LLC
              DJ Wheeler           7100-000           $42.76       $0.00       $0.00     $0.00
              Trucking dba
              DJ's Trucking        7100-000          $215.00       $0.00       $0.00     $0.00
              LLC
              Document             7100-000          $824.40       $0.00       $0.00     $0.00
              Solutions
              Dolphin              7100-000          $550.00       $0.00       $0.00     $0.00
              Transportation
              Dow Trans. dba       7100-000          $400.00       $0.00       $0.00     $0.00
              Edward Cuttler
              DTE                  7100-000        $15,275.05      $0.00       $0.00     $0.00
              Dun-Rite dba         7100-000          $750.00       $0.00       $0.00     $0.00
              Mike Gaugel
              Dustybottoms         7100-000         $1,229.86      $0.00       $0.00     $0.00
              LLC dba Reimel,
              C
              E & E Express        7100-000          $150.00       $0.00       $0.00     $0.00
              Specialty Trans
              E & S Global         7100-000          $570.00       $0.00       $0.00     $0.00
              Transporting dba
              Eagle Flying Car     7100-000          $385.00       $0.00       $0.00     $0.00
              dba Ripall, J
              East Brookfield &    7100-000          $740.00       $0.00       $0.00     $0.00
              Spencer Rail
              East Coast Auto      7100-000         $2,160.00      $0.00       $0.00     $0.00
              Transport
              Eastern Transport    7100-000         $3,690.00      $0.00       $0.00     $0.00
              Services
              Eclipse - Bad Axe    7100-000          $315.00       $0.00       $0.00     $0.00
              Ed Cannon            7100-000         $1,035.00      $0.00       $0.00     $0.00
              Tractor Service
              dba
              Element Trucking     7100-000         $1,364.10      $0.00       $0.00     $0.00
              Inc.
              Elite Auto           7100-000          $124.00       $0.00       $0.00     $0.00
              Transport Inc
              Elite Auto           7100-000          $124.00       $0.00       $0.00     $0.00
              Transport Inc
              Emmett Delaney       7100-000          $515.82       $0.00       $0.00     $0.00
              Transportation
              Encore Auto dba      7100-000          $277.74       $0.00       $0.00     $0.00

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              Ernest Gorris
              Eric Weber           7100-000         $7,097.81      $0.00       $0.00     $0.00
              Excel Auto           7100-000          $585.00       $0.00       $0.00     $0.00
              Transport - TX
              Exotic Transport,    7100-000          $275.00       $0.00       $0.00     $0.00
              LLC.
              Express Auto         7100-000         $4,015.00      $0.00       $0.00     $0.00
              Transport, Inc.
              Express              7100-000         $1,375.00      $0.00       $0.00     $0.00
              Automotive
              Trans, LTD
              Express Services,    7100-000          $131.25       $0.00       $0.00     $0.00
              Inc.
              EXpress Toll         7100-000           $20.00       $0.00       $0.00     $0.00
              Extra Mile           7100-000          $140.00       $0.00       $0.00     $0.00
              Transport Inc
              Fat Boy Towing       7100-000         $2,100.00      $0.00       $0.00     $0.00
              and Transport
              Fink                 7100-000           $75.00       $0.00       $0.00     $0.00
              Transportation
              LLC
              First Choice of      7100-000         $1,125.00      $0.00       $0.00     $0.00
              Elkhart, Inc
              First                7100-000          $125.00       $0.00       $0.00     $0.00
              Rehabilitation
              Life
              Flexible             7100-000          $800.00       $0.00       $0.00     $0.00
              Transport LLC
              Florida Auto         7100-000         $2,822.00      $0.00       $0.00     $0.00
              Express, Inc
              Fountaine            7100-000          $270.00       $0.00       $0.00     $0.00
              Transportation
              dba
              Frank Merlino's      7100-000          $135.00       $0.00       $0.00     $0.00
              Auto Transport
              From Here To         7100-000          $375.00       $0.00       $0.00     $0.00
              There dba
              G & C Transport      7100-000         $1,120.00      $0.00       $0.00     $0.00
              G & G Auto           7100-000          $340.00       $0.00       $0.00     $0.00
              Express dba
              Gilliam
              G &S Auto            7100-000         $3,280.00      $0.00       $0.00     $0.00
              Transport
              G&B Transport        7100-000          $300.00       $0.00       $0.00     $0.00
              dba Exclusive Au
              G.L. Chronister      7100-000         $6,750.00      $0.00       $0.00     $0.00
              Trucking dba
              Garris Trans.        7100-000           $50.00       $0.00       $0.00     $0.00
              dbaWalter Garris

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              GC and More dba      7100-000         $7,115.00      $0.00       $0.00     $0.00
              Patterson, J
              Gentle Touch         7100-000         $5,150.00      $0.00       $0.00     $0.00
              Giant Moving         7100-000          $900.00       $0.00       $0.00     $0.00
              Services, Inc.
              Gibbs, Teresa S      7100-000          $285.00       $0.00       $0.00     $0.00
              Gizzmo Link dba      7100-000          $180.00       $0.00       $0.00     $0.00
              Dodson, Alex
              Glass Hauling        7100-000          $760.00       $0.00       $0.00     $0.00
              dba Jamie Glass
              Glory Auto           7100-000          $968.08       $0.00       $0.00     $0.00
              Transport, LLC.
              Go 2                 7100-000         $4,085.00      $0.00       $0.00     $0.00
              Transportation,
              LLC
              Golden Key           7100-000          $400.00       $0.00       $0.00     $0.00
              Express, Inc
              Goodbye Gear         7100-000          $130.00       $0.00       $0.00     $0.00
              Tr.dba Tim Steffl
              Grantstar Inc        7100-000         $9,479.86      $0.00       $0.00     $0.00
              Great American       7100-000         $3,160.67      $0.00       $0.00     $0.00
              Insurance Co
              Great Lakes          7100-000          $175.00       $0.00       $0.00     $0.00
              Transport
              Great Northern       7100-000         $2,400.00      $0.00       $0.00     $0.00
              Transport Inc
              Grib Transport       7100-000          $350.00       $0.00       $0.00     $0.00
              LLC
              Guardian Life        7100-000          $789.24       $0.00       $0.00     $0.00
              Insurance
              H & H Transport      7100-000          $770.00       $0.00       $0.00     $0.00
              Services Inc
              H & H Transport-     7100-000          $425.00       $0.00       $0.00     $0.00
              TX dba
              H&H                  7100-000         $2,030.00      $0.00       $0.00     $0.00
              Transportation -
              CA
              H & L Transport      7100-000         $5,700.00      $0.00       $0.00     $0.00
              dba Huff, V
              Hansen & Adkins      7100-000         $1,446.00      $0.00       $0.00     $0.00
              Auto Transpor
              Harry's Towing       7100-000          $425.00       $0.00       $0.00     $0.00
              Service Inc
              Hayden Transport     7100-000         $1,090.00      $0.00       $0.00     $0.00
              Inc
              HBC Transport        7100-000          $350.00       $0.00       $0.00     $0.00
              LLC
              HD & J               7100-000         $2,500.00      $0.00       $0.00     $0.00
              Transport, LLC

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              Heil Trucking        7100-000          $140.00       $0.00       $0.00     $0.00
              High Plains          7100-000         $1,634.45      $0.00       $0.00     $0.00
              Transportation
              LLC
              Holeshot             7100-000          $450.00       $0.00       $0.00     $0.00
              Trucking
              Holiday Inn          7100-000          $317.75       $0.00       $0.00     $0.00
              Express
              Hollywood            7100-000         $6,248.00      $0.00       $0.00     $0.00
              Remarketing, Inc
              Hollywood            7100-000         $1,520.00      $0.00       $0.00     $0.00
              Wheels
              HotShot Haulers      7100-000         $3,050.00      $0.00       $0.00     $0.00
              Hotshot Tr. dba      7100-000         $1,695.00      $0.00       $0.00     $0.00
              Ronald Carlson
              Hughes Trucking      7100-000          $120.00       $0.00       $0.00     $0.00
              dba Hughes, L
              Huron Health         7100-000           $65.00       $0.00       $0.00     $0.00
              Center
              I, Cartius LLC       7100-000          $913.70       $0.00       $0.00     $0.00
              ILK, LLC             7100-000          $850.00       $0.00       $0.00     $0.00
              Image Motor          7100-000          $500.00       $0.00       $0.00     $0.00
              Transport Inc
              Infinisource         7100-000          $775.00       $0.00       $0.00     $0.00
              Cobra
              Infinity Auto        7100-000          $879.77       $0.00       $0.00     $0.00
              Express
              Inland Vehicle       7100-000          $430.00       $0.00       $0.00     $0.00
              Transport
              Int'l                7100-000         $1,180.00      $0.00       $0.00     $0.00
              Transportation
              dba
              Interior Auto        7100-000         $1,770.00      $0.00       $0.00     $0.00
              Brkrs dbaLeePeet
              Interstate Auto      7100-000          $345.00       $0.00       $0.00     $0.00
              Transport, Inc
              IROC Transport       7100-000         $5,285.56      $0.00       $0.00     $0.00
              Inc
              Iron Horse           7100-000          $250.00       $0.00       $0.00     $0.00
              Tranzport
              J & J Exclusive      7100-000          $280.00       $0.00       $0.00     $0.00
              J & J Midwest        7100-000         $1,005.00      $0.00       $0.00     $0.00
              Trans., Inc.
              J & S Enterprises    7100-000          $500.00       $0.00       $0.00     $0.00
              J & T Auto           7100-000          $243.99       $0.00       $0.00     $0.00
              Transport, LLC
              J.J. Keller          7100-000         $3,396.26      $0.00       $0.00     $0.00
              Jack Key Auto        7100-000         $4,838.34      $0.00       $0.00     $0.00

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              Transport, Inc
              Jack Nielsens        7100-000          $500.00       $0.00       $0.00     $0.00
              Commerical &
              Fle
              Jackson Trucking     7100-000          $620.00       $0.00       $0.00     $0.00
              Co Inc dba
              Jam Up LLC, dba      7100-000        $14,834.64      $0.00       $0.00     $0.00
              Jam Up Auto Tr
              Jameson              7100-000          $300.00       $0.00       $0.00     $0.00
              Machinery Inc
              JCV Trucking Inc     7100-000          $335.00       $0.00       $0.00     $0.00
              Jeffery's Towing     7100-000          $350.00       $0.00       $0.00     $0.00
              Service
              Jenkins Auto         7100-000         $7,205.12      $0.00       $0.00     $0.00
              Transport dba
              Jim D. Hunter        7100-000         $1,800.00      $0.00       $0.00     $0.00
              Trucking
              JLB                  7100-000          $710.00       $0.00       $0.00     $0.00
              Transportation
              dba Brooks
              JMN                  7100-000         $1,182.00      $0.00       $0.00     $0.00
              Transportation,
              Inc
              JMR Auto             7100-000          $130.00       $0.00       $0.00     $0.00
              Transport
              John Martin          7100-000          $400.00       $0.00       $0.00     $0.00
              Jordan               7100-000         $1,100.00      $0.00       $0.00     $0.00
              Transervice, Inc.
              Julia's Trucking     7100-000           $18.95       $0.00       $0.00     $0.00
              dba Pereira A
              JXE Transport        7100-000         $3,120.00      $0.00       $0.00     $0.00
              Corp
              K & K Transport      7100-000          $240.00       $0.00       $0.00     $0.00
              Inc dba
              K & L Kaston         7100-000          $800.00       $0.00       $0.00     $0.00
              Logistics
              K&R                  7100-000          $320.00       $0.00       $0.00     $0.00
              Transportation,
              Inc
              K & W Auto dba       7100-000          $201.26       $0.00       $0.00     $0.00
              Milton, Michael
              K and K              7100-000         $1,080.00      $0.00       $0.00     $0.00
              Transport dba
              Kieffabe
              Kanani Trucking,     7100-000          $230.00       $0.00       $0.00     $0.00
              LLC.
              Kar Store dba        7100-000         $1,285.02      $0.00       $0.00     $0.00
              Shouler, Thomas
              Kevin's Towing,      7100-000          $140.00       $0.00       $0.00     $0.00
              Inc.
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              Kiefer's Auto         7100-000          $240.00       $0.00       $0.00     $0.00
              Transport Inc
              Kingpin Auto          7100-000         $1,000.00      $0.00       $0.00     $0.00
              Transport
              Kings of the Road     7100-000         $1,210.00      $0.00       $0.00     $0.00
              dba
              Kiwi's Karriers       7100-000          $550.00       $0.00       $0.00     $0.00
              dba Byan, Bill
              Klassic               7100-000         $1,375.00      $0.00       $0.00     $0.00
              Enterprises, LLC.
              Kondratev             7100-000         $3,500.00      $0.00       $0.00     $0.00
              Trucking Inc dba
              Koop Auto             7100-000         $1,263.56      $0.00       $0.00     $0.00
              Transport Inc
              Kortlander            7100-000          $380.00       $0.00       $0.00     $0.00
              Hauling dba
              Pildite
              KT Auto               7100-000          $400.00       $0.00       $0.00     $0.00
              Transport Inc
              Launderville's        7100-000          $275.00       $0.00       $0.00     $0.00
              Towing & Servic
              Leach Enterprises     7100-000         $6,780.00      $0.00       $0.00     $0.00
              and Trans.
              Leaf Funding Inc.     7100-000          $965.58       $0.00       $0.00     $0.00
              Left Coast            7100-000           $90.00       $0.00       $0.00     $0.00
              Transport LLC
              dba
              Lenexa Towing &       7100-000          $180.00       $0.00       $0.00     $0.00
              Transport
              Leo & Libra           7100-000         $2,029.65      $0.00       $0.00     $0.00
              En.dba
              GeorgeWyant
              Li's Truck dba        7100-000         $1,000.00      $0.00       $0.00     $0.00
              Shen, Li
              Lightning             7100-000          $425.00       $0.00       $0.00     $0.00
              Transports Inc
              Linwood               7100-000          $150.00       $0.00       $0.00     $0.00
              Logistics LLC
              Little Detroit Inc    7100-000         $1,360.00      $0.00       $0.00     $0.00
              LN Hauler             7100-000          $430.00       $0.00       $0.00     $0.00
              Services dba
              Doland
              Loco Inc dba          7100-000          $850.00       $0.00       $0.00     $0.00
              Northwest Auto
              Tr
              Logic Solution,       7100-000          $760.00       $0.00       $0.00     $0.00
              Inc.
              Lomen Auto            7100-000          $170.00       $0.00       $0.00     $0.00
              Transport, Inc
              Longhorn Auto         7100-000           $85.68       $0.00       $0.00     $0.00
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              Movers
              Loran J. Critchett,    7100-000          $140.00       $0.00       $0.00     $0.00
              Inc.
              Luedke Trucking        7100-000         $2,253.00      $0.00       $0.00     $0.00
              dba Luedke, R
              Luxury Lines Inc       7100-000         $1,900.00      $0.00       $0.00     $0.00
              Lyn Tetreau            7100-000        $86,665.59      $0.00       $0.00     $0.00
              M & B Hotshots         7100-000          $375.00       $0.00       $0.00     $0.00
              dba Lester, B
              M & M Industries       7100-000          $250.00       $0.00       $0.00     $0.00
              Inc
              M&T                    7100-000          $600.00       $0.00       $0.00     $0.00
              Transportation
              dba Komen
              Mabro Auto             7100-000         $6,979.00      $0.00       $0.00     $0.00
              Transport, Inc
              Machuca Auto           7100-000          $910.00       $0.00       $0.00     $0.00
              Transport LLC
              Mark Alfini            7100-000         $6,726.00      $0.00       $0.00     $0.00
              Mark Irelan            7100-000         $1,120.00      $0.00       $0.00     $0.00
              Trucking, LLC
              Markare                7100-000          $141.08       $0.00       $0.00     $0.00
              Martinez, Adolfo       7100-000          $900.00       $0.00       $0.00     $0.00
              O
              Marvin's               7100-000          $900.00       $0.00       $0.00     $0.00
              Transport LLC
              dba
              Masney Auto            7100-000         $3,280.00      $0.00       $0.00     $0.00
              Transport Inc
              Master Transport       7100-000         $6,980.00      $0.00       $0.00     $0.00
              dba Turner, C
              Mayo Global            7100-000          $165.00       $0.00       $0.00     $0.00
              Transportation
              McInnis Cooper         7100-000          $131.32       $0.00       $0.00     $0.00
              McLeod Motor           7100-000          $200.00       $0.00       $0.00     $0.00
              Company Inc
              Mellenia               7100-000          $525.00       $0.00       $0.00     $0.00
              Management
              Trucking
              MG Motors LLC          7100-000          $300.00       $0.00       $0.00     $0.00
              dba Gomenyuk,
              M
              Michael                7100-000         $2,700.00      $0.00       $0.00     $0.00
              Schexnayder dba
              Mickey's Trans         7100-000         $1,500.00      $0.00       $0.00     $0.00
              dba Turkette, D
              Mid City Auto          7100-000         $1,545.00      $0.00       $0.00     $0.00
              Mid-Western Car        7100-000        $17,138.00      $0.00       $0.00     $0.00
              Carriers, Inc

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              MIG Transport        7100-000           $10.67       $0.00       $0.00     $0.00
              dba Migneault, E
              Miller Canfield      7100-000          $942.96       $0.00       $0.00     $0.00
              Paddock&Stone
              Misty Creek          7100-000          $130.00       $0.00       $0.00     $0.00
              Transport
              Misty Creek          7100-000          $130.00       $0.00       $0.00     $0.00
              Transport
              Mitch's Auto         7100-000          $450.00       $0.00       $0.00     $0.00
              Transport dba
              Mobile Mini,         7100-000         $3,647.19      $0.00       $0.00     $0.00
              LLC- CO
              Mobility Sales &     7100-000          $823.24       $0.00       $0.00     $0.00
              Rental Inc
              Monarch Carriers     7100-000          $750.00       $0.00       $0.00     $0.00
              Inc dba
              Monroe Auto          7100-000          $401.20       $0.00       $0.00     $0.00
              Sales &
              Trans.,Inc
              Moore Trans. of      7100-000          $600.00       $0.00       $0.00     $0.00
              Tulsa, LLC.
              Motor City Auto      7100-000         $3,625.00      $0.00       $0.00     $0.00
              Trans., Inc.
              Motor City           7100-000          $700.00       $0.00       $0.00     $0.00
              Classics Trans.
              dba
              Mountain Express     7100-000         $4,832.96      $0.00       $0.00     $0.00
              Transport dba
              MPG Trucking         7100-000          $180.00       $0.00       $0.00     $0.00
              LLC
              MRR, Inc.            7100-000         $9,866.99      $0.00       $0.00     $0.00
              MS Trucking dba      7100-000          $600.00       $0.00       $0.00     $0.00
              Skidmmore, W
              Mt. Nebo             7100-000          $290.00       $0.00       $0.00     $0.00
              Transport
              MTY Transport        7100-000          $460.00       $0.00       $0.00     $0.00
              dba Valle, Doris
              My Transport         7100-000          $150.00       $0.00       $0.00     $0.00
              Company
              Nao Auto dba         7100-000        $24,610.00      $0.00       $0.00     $0.00
              Nikolay
              Oberemor
              National             7100-000          $661.50       $0.00       $0.00     $0.00
              Diagnostics INC
              National             7100-000          $750.00       $0.00       $0.00     $0.00
              Registered Agents
              Nationwide Auto      7100-000          $425.00       $0.00       $0.00     $0.00
              Trans-FL dba
              Ned's HD Towing      7100-000          $470.00       $0.00       $0.00     $0.00
              Inc
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              Nevada Auto          7100-000          $170.00       $0.00       $0.00     $0.00
              Sales
              Newbys Auto          7100-000         $2,420.00      $0.00       $0.00     $0.00
              Transport dba
              Newman Auto          7100-000          $310.00       $0.00       $0.00     $0.00
              Transport, Inc.
              Next Generation      7100-000          $300.00       $0.00       $0.00     $0.00
              Transport dba
              NHDOT E-Z Pass       7100-000          $473.75       $0.00       $0.00     $0.00
              Violation Proc
              Nomad Transport      7100-000          $510.00       $0.00       $0.00     $0.00
              dba York, Scot
              Norfolk Southern     7100-000         $2,567.77      $0.00       $0.00     $0.00
              Railway
              Northern Lights      7100-000          $200.00       $0.00       $0.00     $0.00
              Express, LLC
              NS Express dba       7100-000          $340.00       $0.00       $0.00     $0.00
              Smith, Neil
              NS Transport dba     7100-000         $1,100.00      $0.00       $0.00     $0.00
              Zulic, Enes
              Ocean State          7100-000         $4,350.00      $0.00       $0.00     $0.00
              Towing & Rec
              Inc
              Over the Road        7100-000          $495.00       $0.00       $0.00     $0.00
              P's Auto             7100-000         $1,885.00      $0.00       $0.00     $0.00
              Care/Printis
              Meadows
              P.J.'s Auto          7100-000          $195.00       $0.00       $0.00     $0.00
              Transport LLC
              Parking              7100-000           $55.00       $0.00       $0.00     $0.00
              Violations Bureau
              Parkway Auto         7100-000         $4,203.00      $0.00       $0.00     $0.00
              Transport, Inc
              Pasha Hawaii         7100-000          $405.00       $0.00       $0.00     $0.00
              Logistics, LLC.
              PCC Airpark          7100-000         $3,745.00      $0.00       $0.00     $0.00
              LLC
              Penta Auto           7100-000         $6,549.00      $0.00       $0.00     $0.00
              Transport, Inc
              Pinder Logistics,    7100-000         $2,025.00      $0.00       $0.00     $0.00
              LLC
              Pinnacle Auto        7100-000          $990.00       $0.00       $0.00     $0.00
              Transport, LLC.
              Pinpoint dba         7100-000         $1,287.61      $0.00       $0.00     $0.00
              Routers LTD
              Pioneer Auto         7100-000          $250.00       $0.00       $0.00     $0.00
              Express Corp.
              Pirates Transport    7100-000         $1,985.00      $0.00       $0.00     $0.00
              dba Palms, S

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              Pitney Bowes         7100-000          $339.15       $0.00       $0.00     $0.00
              Platnum Express      7100-000         $1,960.00      $0.00       $0.00     $0.00
              Auto Tran dba
              Portland Towing      7100-000          $300.00       $0.00       $0.00     $0.00
              Pramco Transport     7100-000          $250.00       $0.00       $0.00     $0.00
              Inc
              Preowned Towing      7100-000         $3,483.26      $0.00       $0.00     $0.00
              & Trans., Inc.
              Prestige Auto        7100-000          $700.00       $0.00       $0.00     $0.00
              Transport dba
              Pretty Gator         7100-000          $300.00       $0.00       $0.00     $0.00
              Hauling dba
              Lowe
              PSTS, LLC            7100-000          $850.00       $0.00       $0.00     $0.00
              Pure Health          7100-000          $954.00       $0.00       $0.00     $0.00
              Solutions, INC
              Q & M Motors         7100-000         $2,260.00      $0.00       $0.00     $0.00
              dba Benton, John
              Q-Balls              7100-000          $125.00       $0.00       $0.00     $0.00
              Transporter Inc
              Quality Drive-       7100-000         $1,300.00      $0.00       $0.00     $0.00
              Away, Inc.
              Quick Connect        7100-000         $4,408.04      $0.00       $0.00     $0.00
              U.S.A
              Quill                7100-000         $2,545.66      $0.00       $0.00     $0.00
              R & R Transport      7100-000          $575.00       $0.00       $0.00     $0.00
              & Recovery dba
              R-E Trucking         7100-000          $225.00       $0.00       $0.00     $0.00
              Serv dba
              Quintana
              R. Kern & Son        7100-000          $160.00       $0.00       $0.00     $0.00
              Trucking Inc
              R. L. Wilson         7100-000          $135.00       $0.00       $0.00     $0.00
              Transport
              R.A.B. Trucking      7100-000         $5,040.00      $0.00       $0.00     $0.00
              Inc
              Rapture Transport    7100-000         $1,915.00      $0.00       $0.00     $0.00
              dba
              Raven Recovery       7100-000          $400.00       $0.00       $0.00     $0.00
              dba Lamberger
              Raymond Auto         7100-000          $110.00       $0.00       $0.00     $0.00
              Carriers
              RB Trucking dba      7100-000          $625.00       $0.00       $0.00     $0.00
              Belcher, Ron
              Red Rabbit           7100-000          $170.00       $0.00       $0.00     $0.00
              Transport LLC
              dba
              Red's                7100-000          $200.00       $0.00       $0.00     $0.00
              Transportation

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              dba Cash
              Rehmann Robson       7100-000          $650.00       $0.00       $0.00     $0.00
              Reliable Carriers    7100-000         $1,760.00      $0.00       $0.00     $0.00
              Inc
              Renegade             7100-000         $2,035.25      $0.00       $0.00     $0.00
              Transport Inc
              Renegade             7100-000          $930.00       $0.00       $0.00     $0.00
              Transportation
              Renner               7100-000          $445.00       $0.00       $0.00     $0.00
              Enterprises Ltd
              RH. Harding Co.      7100-000         $1,295.00      $0.00       $0.00     $0.00
              Inc
              Rhode Island         7100-000           $20.00       $0.00       $0.00     $0.00
              Turnpike
              Richardson's         7100-000          $925.00       $0.00       $0.00     $0.00
              Auto Trans dba
              Ricks Solutions      7100-000          $425.00       $0.00       $0.00     $0.00
              Inc
              Rider on the         7100-000         $1,000.00      $0.00       $0.00     $0.00
              White Horse ptnr
              Riedel Trucking      7100-000          $150.00       $0.00       $0.00     $0.00
              dba Riedel, D
              Rivera Auto          7100-000         $3,599.92      $0.00       $0.00     $0.00
              Transport
              Riverview Auto       7100-000         $2,588.00      $0.00       $0.00     $0.00
              Transport
              RJR Specialties      7100-000          $680.00       $0.00       $0.00     $0.00
              Transport LLC
              Roadside Auto &      7100-000          $440.00       $0.00       $0.00     $0.00
              Truck, Inc
              Robinson Auto        7100-000         $4,000.00      $0.00       $0.00     $0.00
              Transport, LLC
              Rock Solid Trans     7100-000          $275.00       $0.00       $0.00     $0.00
              dba Hammond R
              Rockford Express     7100-000          $100.00       $0.00       $0.00     $0.00
              LLC
              Rocky Mountain       7100-000         $2,119.11      $0.00       $0.00     $0.00
              Auto Trans dba
              ROD Express,         7100-000          $150.00       $0.00       $0.00     $0.00
              Inc.
              Rottier Transport    7100-000          $555.00       $0.00       $0.00     $0.00
              Inc
              RPM Transport        7100-000         $6,040.00      $0.00       $0.00     $0.00
              LLC dba Roberts
              Run Arounds dba      7100-000          $100.00       $0.00       $0.00     $0.00
              Evans, Michael
              Rush Auto            7100-000         $5,795.10      $0.00       $0.00     $0.00
              Carrier dba
              Ruthart              7100-000          $160.00       $0.00       $0.00     $0.00

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              Transportation
              dba
              S & B Auto            7100-000           $3,720.00     $0.00       $0.00     $0.00
              Transport, Inc dba
              S & G Transport       7100-000           $4,400.00     $0.00       $0.00     $0.00
              Services, Inc
              S & S Auto            7100-000             $600.00     $0.00       $0.00     $0.00
              Transporters dba
              Safe Auto             7100-000             $100.00     $0.00       $0.00     $0.00
              Transport, Inc.
              Sameday               7100-000             $300.00     $0.00       $0.00     $0.00
              Delivery, LLC
              Saul's Enterprises    7100-000             $480.00     $0.00       $0.00     $0.00
              LLC
              Schroeder Truck       7100-000           $4,559.50     $0.00       $0.00     $0.00
              Repair
              Scott                 7100-000           $1,960.32     $0.00       $0.00     $0.00
              Transportation
              SCS Transport         7100-000             $220.00     $0.00       $0.00     $0.00
              Inc
              Searles Trucking      7100-000             $140.00     $0.00       $0.00     $0.00
              dba Searles P
              Second Look           7100-000             $100.00     $0.00       $0.00     $0.00
              Transportation
              Seley Fire            7100-000              $65.00     $0.00       $0.00     $0.00
              Protection
              Selland Auto          7100-000           $9,594.24     $0.00       $0.00     $0.00
              Transport, Inc
              Serv-All, Inc         7100-000           $3,912.46     $0.00       $0.00     $0.00
              Seven Season's        7100-000             $350.00     $0.00       $0.00     $0.00
              Transport, Inc.
              Shamrock Auto         7100-000          $13,185.00     $0.00       $0.00     $0.00
              Transport
              Shamrock              7100-000           $4,150.00     $0.00       $0.00     $0.00
              Express
              Shannon Tetreau       7100-000          $28,921.02     $0.00       $0.00     $0.00
              Shepherd              7100-000             $560.00     $0.00       $0.00     $0.00
              Transport
              ShowTyme              7100-000        $1,060,275.86    $0.00       $0.00     $0.00
              Transport
              Sierra Mountain       7100-000             $375.00     $0.00       $0.00     $0.00
              Express, Inc
              Silver Star           7100-000             $495.00     $0.00       $0.00     $0.00
              Logistic Inc
              SK Trucking,          7100-000             $400.00     $0.00       $0.00     $0.00
              LLC.
              Skinner Trucking      7100-000             $373.74     $0.00       $0.00     $0.00
              Inc
              Sky Trucking dba      7100-000             $425.00     $0.00       $0.00     $0.00

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              Kholmukahamed
              Skybeam               7100-000         $1,380.00      $0.00       $0.00     $0.00
              Smith & Family        7100-000          $600.00       $0.00       $0.00     $0.00
              Enterprise
              Soft Auto             7100-000         $1,600.00      $0.00       $0.00     $0.00
              Transport dba
              South Lake            7100-000          $100.00       $0.00       $0.00     $0.00
              Towing
              Southern Cross        7100-000          $500.00       $0.00       $0.00     $0.00
              Transport dba
              Southern Haulin       7100-000         $1,805.00      $0.00       $0.00     $0.00
              LLC
              Southern Star Hot     7100-000          $300.00       $0.00       $0.00     $0.00
              Shot dba
              Southwest Auto        7100-000          $100.00       $0.00       $0.00     $0.00
              Transport dba
              Specialty Mobile      7100-000          $250.00       $0.00       $0.00     $0.00
              Carriers LLC
              Spicer Farms Inc      7100-000          $200.00       $0.00       $0.00     $0.00
              Spider Transport,     7100-000         $6,026.00      $0.00       $0.00     $0.00
              Inc
              Sprint                7100-000          $915.44       $0.00       $0.00     $0.00
              Sterry Street Auto    7100-000         $9,043.81      $0.00       $0.00     $0.00
              Transportat
              Striker Services      7100-000          $150.00       $0.00       $0.00     $0.00
              Style Auto            7100-000          $570.00       $0.00       $0.00     $0.00
              Transport Inc
              Sun City Auto         7100-000          $570.00       $0.00       $0.00     $0.00
              Transport LLC
              Sun Consulting,       7100-000           $63.93       $0.00       $0.00     $0.00
              LLC.
              Sun Pass              7100-000          $801.15       $0.00       $0.00     $0.00
              Super Quick , Inc     7100-000          $740.00       $0.00       $0.00     $0.00
              Supreme Auto          7100-000         $4,959.69      $0.00       $0.00     $0.00
              Transport, Inc
              Supreme Auto          7100-000         $5,169.08      $0.00       $0.00     $0.00
              Transport, Inc.
              Supreme               7100-000         $1,190.00      $0.00       $0.00     $0.00
              Equipment
              Transport
              Sure Shot             7100-000          $323.17       $0.00       $0.00     $0.00
              Express, Inc
              Sure Shot             7100-000         $1,829.59      $0.00       $0.00     $0.00
              Transport Inc
              T.A.C. Trucking       7100-000         $2,625.00      $0.00       $0.00     $0.00
              dba Costa, T
              Tamus, Inc.           7100-000          $200.00       $0.00       $0.00     $0.00
              Tanano's              7100-000        $16,428.14      $0.00       $0.00     $0.00

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              Trucking & Trans
              dba
              Tanner & James,      7100-000           $91.32       $0.00       $0.00     $0.00
              Inc.
              Tausi Trans. dba     7100-000         $2,050.00      $0.00       $0.00     $0.00
              George Mwaura
              Tavo's               7100-000          $330.00       $0.00       $0.00     $0.00
              Automotive dba
              Jimenez
              Taylor               7100-000        $17,202.37      $0.00       $0.00     $0.00
              Transportation
              LLC.
              TDM-A Division       7100-000         $2,048.72      $0.00       $0.00     $0.00
              of Rand McNally
              Tetreau              7100-000          $650.00       $0.00       $0.00     $0.00
              Investments
              Tetreau Sales &      7100-000         $6,006.00      $0.00       $0.00     $0.00
              Leasing, LLC
              Texas Auto           7100-000         $2,005.00      $0.00       $0.00     $0.00
              Carriers, Inc
              Theta Transport      7100-000          $270.00       $0.00       $0.00     $0.00
              LLC dba Niehus
              Thumb Glass          7100-000          $169.40       $0.00       $0.00     $0.00
              Thunderstruck        7100-000          $130.00       $0.00       $0.00     $0.00
              Transport Serv
              Titan Corporation    7100-000          $480.00       $0.00       $0.00     $0.00
              LLC
              TNT Car-             7100-000          $160.00       $0.00       $0.00     $0.00
              go/Amco Ent.
              Inc.
              Tonne Transport,     7100-000         $1,805.00      $0.00       $0.00     $0.00
              Inc.
              Top Gun              7100-000          $425.00       $0.00       $0.00     $0.00
              Enterprises, Inc
              Torrington Auto      7100-000         $1,863.71      $0.00       $0.00     $0.00
              Transport LLC
              Total Claims         7100-000         $7,442.00      $0.00       $0.00     $0.00
              Management, Inc.
              Tower Transport,     7100-000          $220.00       $0.00       $0.00     $0.00
              LLC.
              Town & Country       7100-000          $100.00       $0.00       $0.00     $0.00
              Tow & Tr, Inc
              Tran Tech, Inc       7100-000         $3,410.00      $0.00       $0.00     $0.00
              Transentric          7100-000         $5,632.25      $0.00       $0.00     $0.00
              Transport            7100-000         $1,327.86      $0.00       $0.00     $0.00
              Services
              Transporter          7100-000         $2,280.00      $0.00       $0.00     $0.00
              Special
              Treasure State       7100-000          $325.00       $0.00       $0.00     $0.00

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              Transportation
              Tri Western          7100-000          $750.00       $0.00       $0.00     $0.00
              Transport
              Trophy Transport     7100-000          $450.00       $0.00       $0.00     $0.00
              dba Ilsey, R
              True Family          7100-000          $250.00       $0.00       $0.00     $0.00
              Auto, Inc.
              Tucker               7100-000         $2,440.00      $0.00       $0.00     $0.00
              Enterprises, Inc
              Turner & Son         7100-000          $195.00       $0.00       $0.00     $0.00
              Trucking LLC
              Turner's Towing,     7100-000         $3,240.00      $0.00       $0.00     $0.00
              Inc.
              Twisted Metal        7100-000          $150.00       $0.00       $0.00     $0.00
              Transport Inc
              Union Pacific        7100-000        $16,068.00      $0.00       $0.00     $0.00
              Railroad
              Company
              United Auto          7100-000         $8,458.00      $0.00       $0.00     $0.00
              Carriers Inc
              United Road          7100-000         $6,397.98      $0.00       $0.00     $0.00
              Services, Inc.
              United Site          7100-000         $1,314.00      $0.00       $0.00     $0.00
              Services
              Universal Auto       7100-000          $880.00       $0.00       $0.00     $0.00
              Sales
              Up The Creek dba     7100-000          $560.00       $0.00       $0.00     $0.00
              Ronald Welch
              USA Auto             7100-000          $500.00       $0.00       $0.00     $0.00
              Transport LLC
              USIS                 7100-000          $783.62       $0.00       $0.00     $0.00
              Commercial
              Services Inc.
              V's Towing           7100-000          $665.00       $0.00       $0.00     $0.00
              Transport Inc
              Vehicles In          7100-000          $330.00       $0.00       $0.00     $0.00
              Motion dba
              Viking Transport,    7100-000         $1,580.00      $0.00       $0.00     $0.00
              Inc
              Violation            7100-000           $33.00       $0.00       $0.00     $0.00
              Processing Center
              Violations           7100-000          $214.10       $0.00       $0.00     $0.00
              Processing Center
              VLP Transport        7100-000           $90.00       $0.00       $0.00     $0.00
              dba Parks, V
              Vonage               7100-000           $82.03       $0.00       $0.00     $0.00
              VP                   7100-000         $1,595.00      $0.00       $0.00     $0.00
              Transportation
              Waste                7100-000          $392.71       $0.00       $0.00     $0.00

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              Management
              Waste                7100-000             $406.23         $0.00         $0.00        $0.00
              Management
              Denver
              West Coast Auto      7100-000             $250.00         $0.00         $0.00        $0.00
              Transport dba
              West Trans. dba      7100-000             $210.00         $0.00         $0.00        $0.00
              Timothy West
              Westland Freight,    7100-000           $1,300.00         $0.00         $0.00        $0.00
              Inc.
              Westland Freight,    7100-000           $1,300.00         $0.00         $0.00        $0.00
              Inc.
              WFD3                 7100-000             $420.00         $0.00         $0.00        $0.00
              Enterprises dba
              Duffy, W
              Wheels on            7100-000           $1,610.00         $0.00         $0.00        $0.00
              Wheels LLC
              Wheels               7100-000           $1,815.00         $0.00         $0.00        $0.00
              Unlimited, Inc.
              William E. Cutler    7100-000          $26,000.00         $0.00         $0.00        $0.00
              III
              Williams             7100-000             $300.00         $0.00         $0.00        $0.00
              Transport dba
              Wilson Auto          7100-000             $290.00         $0.00         $0.00        $0.00
              Transport LLC
              dba
              WinCrest Vehicle     7100-000             $880.00         $0.00         $0.00        $0.00
              Transport dba
              Wirth Transport      7100-000           $1,445.00         $0.00         $0.00        $0.00
              LLC
              WKC                  7100-000             $320.00         $0.00         $0.00        $0.00
              Transporters LLC
              dba
              xcel                 7100-000           $2,075.00         $0.00         $0.00        $0.00
              Transportation
              LLC dba
              Y Not Transport      7100-000             $719.95         $0.00         $0.00        $0.00
              dba Amador, A
              Yuri                 7100-000             $200.00         $0.00         $0.00        $0.00
              Transportation
              Z Promotion          7100-000             $899.98         $0.00         $0.00        $0.00
              Zach the             7100-000             $200.00         $0.00         $0.00        $0.00
              Transporter
              Zim's Trucking       7100-000           $2,140.00         $0.00         $0.00        $0.00
              Zirka Inc            7100-000           $1,280.00         $0.00         $0.00        $0.00
TOTAL GENERAL UNSECURED CLAIMS                     $3,283,991.33 $1,582,069.39 $1,551,398.3   $22,653.39
                                                                                          7




UST Form 101-7-TDR (10/1/2010)
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                                                                                                                                                       Page No:      1
                                                                              FORM 1
                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                            Exhibit 8
                                                                 ASSET CASES
Case No.:                      10-20759-DSO                                                            Trustee Name:                                Randall L. Frank
Case Name:                     TRANSLOGIC AUTO CARRIERS LLC                                            Date Filed (f) or Converted (c):             03/02/2010 (f)
For the Period Ending:         5/19/2017                                                               §341(a) Meeting Date:                        06/22/2010
                                                                                                       Claims Bar Date:                             07/28/2011

                           1                                2                       3                            4                         5                           6

                 Asset Description                      Petition/          Estimated Net Value              Property                 Sales/Funds              Asset Fully
                  (Scheduled and                      Unscheduled         (Value Determined by              Abandoned               Received by the        Administered (FA) /
             Unscheduled (u) Property)                   Value                   Trustee,             OA =§ 554(a) abandon.             Estate               Gross Value of
                                                                         Less Liens, Exemptions,                                                            Remaining Assets
                                                                            and Other Costs)

 Ref. #
1       Outstanding accounts                          $1,091,714.00                        $134.34                                              $341.34                     FA
        receiveable
2       Claim for 5% of monthly                                  $0.00                  $200,000.00                                               $0.00                     FA
         billable revenue from United
         Road Services, Inc. pursuant to
         sale of Berlin Volkswagen
         contract.
3        Claims for unauthorized                        $341,946.00                     $341,946.00                                               $0.00                     FA
         transfers made by Rick Coley
         to himself and affiliates.
4        Dodge Charger in the                              $9,500.00                      $9,500.00                                            $9,500.00                    FA
         possession of Rick Coley.
5        Mass. Pref. against William            (u)      $30,400.00                      $30,400.00                                         $30,400.00                      FA
         Cutler
6        Potential Claim against GM             (u)     $493,362.15                     $100,000.00                                        $100,000.00                      FA
7        Potential Claim against                (u)     $208,008.14                      $90,000.00                                         $95,000.00                      FA
         Chrysler
8        Potential Claim against Ford           (u)     $210,756.00                     $150,000.00                                        $150,000.00                      FA
9        Midwestern Car                         (u)        $1,500.00                      $1,500.00                                            $1,500.00                    FA
         Carriers/Randall Wills
10       Lynn Tetro                             (u)      $20,000.00                      $20,000.00                                            $7,500.00                    FA
11       5 Desks, 20 Four Drawer File           (u)        $2,000.00                      $2,000.00                                               $0.00                     FA
         Cabinets, 4 Person Cubicle, 1
         Computer Server, 1 Server
         Cabinet, 2 Conference Tables,
         Copiers and Fax Machines,
         Chairs
12       Unclaimed Funds                        (u)        Unknown                      $145,724.41                                        $145,724.41                      FA
13       ATTM Settlement                        (u)             $70.74                      $70.74                                               $70.74                     FA
INT      Interest Earned                        (u)        Unknown                        Unknown                                                 $2.87                     FA


TOTALS (Excluding unknown value)                                                                                                             Gross Value of Remaining Assets
                                                      $2,409,257.03                 $1,091,275.49                                         $540,039.36                 $0.00




      Major Activities affecting case closing:
       06/22/2013     Reviewing collectability of defendants to determine cost benefit of proceeding forward with remaining 547 Actions that appear to have
                      significant defenses.
       06/27/2012     Administering various avoidance actions.
       06/21/2011     Involuntary case. Investigating estate's interest in various assets. Still administering a Dodge Charger, anticipate sale yet in 2011.
       03/30/2011     Investigating avoidance actions.
       09/28/2010     Awaiting receipt of additional documentation from debtor, debtor's financial advisor and bank. 2004 Exam has been continued, pending
                      receipt of the of duoments to determine collectability of accounts receivable, lien status of secured creditor and to determine potential
                      Ch. 5 Recoveries.

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                                                                                                                                        Page No:     2
                                                                     FORM 1
                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                Exhibit 8
                                                             ASSET CASES
Case No.:                    10-20759-DSO                                                 Trustee Name:                             Randall L. Frank
Case Name:                   TRANSLOGIC AUTO CARRIERS LLC                                 Date Filed (f) or Converted (c):          03/02/2010 (f)
For the Period Ending:       5/19/2017                                                    §341(a) Meeting Date:                     06/22/2010
                                                                                          Claims Bar Date:                          07/28/2011

                         1                          2                     3                        4                         5                         6

                 Asset Description                Petition/       Estimated Net Value           Property               Sales/Funds            Asset Fully
                  (Scheduled and                Unscheduled      (Value Determined by           Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)             Value                Trustee,          OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                Less Liens, Exemptions,                                                     Remaining Assets
                                                                   and Other Costs)

Initial Projected Date Of Final Report (TFR):      12/31/2011                                               /s/ RANDALL L. FRANK
Current Projected Date Of Final Report (TFR):                                                               RANDALL L. FRANK




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                                                                                                                                                        Page No:1
                                                                       FORM 2                                                                       Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          10-20759-DSO                                                             Trustee Name:                            Randall L. Frank
Case Name:                        TRANSLOGIC AUTO CARRIERS LLC                                             Bank Name:                               The Bank of New
                                                                                                                                                    York Mellon
Primary Taxpayer ID #:            **-***9275                                                               Money Market Acct #:                     ******0465
Co-Debtor Taxpayer ID #:                                                                                   Account Title:                           Money Market
                                                                                                                                                    Account
For Period Beginning:             3/2/2010                                                                 Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                5/19/2017                                                                Separate bond (if applicable):

       1                2                      3                                 4                                            5                 6                   7

   Transaction       Check /             Paid to/                    Description of Transaction            Uniform          Deposit        Disbursement         Balance
      Date            Ref. #          Received From                                                       Tran Code           $                 $


08/02/2010            (1)      RAB Express                Receivable                                      1121-000                $67.62                                $67.62
08/24/2010                     Sterling Bank              Transfer Funds                                  9999-000                              $67.62                   $0.00

                                                                 TOTALS:                                                          $67.62        $67.62                   $0.00
                                                                     Less: Bank transfers/CDs                                      $0.00        $67.62
                                                                 Subtotal                                                         $67.62         $0.00
                                                                     Less: Payments to debtors                                     $0.00         $0.00
                                                                 Net                                                              $67.62         $0.00


  For the period of 3/2/2010 to 5/19/2017                                            For the entire history of the account between 08/02/2010 to 5/19/2017

  Total Compensable Receipts:                               $67.62                   Total Compensable Receipts:                                       $67.62
  Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                    $0.00
  Total Comp/Non Comp Receipts:                             $67.62                   Total Comp/Non Comp Receipts:                                     $67.62
  Total Internal/Transfer Receipts:                          $0.00                   Total Internal/Transfer Receipts:                                  $0.00


  Total Compensable Disbursements:                           $0.00                   Total Compensable Disbursements:                                   $0.00
  Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                               $0.00
  Total Comp/Non Comp Disbursements:                         $0.00                   Total Comp/Non Comp Disbursements:                                 $0.00
  Total Internal/Transfer Disbursements:                    $67.62                   Total Internal/Transfer Disbursements:                            $67.62




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                                                                       FORM 2                                                                          Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           10-20759-DSO                                                                Trustee Name:                           Randall L. Frank
Case Name:                         TRANSLOGIC AUTO CARRIERS LLC                                               Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***9275                                                                  Checking Acct #:                        ******0414
Co-Debtor Taxpayer ID #:                                                                                       Account Title:                          DDA
For Period Beginning:              3/2/2010                                                                    Blanket bond (per case limit):          $2,000,000.00
For Period Ending:                 5/19/2017                                                                   Separate bond (if applicable):

       1                2                      3                                 4                                                5                6                   7

   Transaction       Check /              Paid to/                   Description of Transaction                Uniform          Deposit       Disbursement         Balance
      Date            Ref. #           Received From                                                          Tran Code           $                $


08/12/2011                     Sterling Bank              Transfer Funds                                      9999-000          $30,537.21                          $30,537.21
09/15/2011                     Bank of Texas              Account Analysis Fee                                2600-000                             $31.79           $30,505.42
09/23/2011            (4)      Century Asset              Auction of Car per c/o 6/13/11                      1129-000           $9,500.00                          $40,005.42
                               Management, Inc
10/17/2011                     Bank of Texas              Account Analysis Fee                                2600-000                             $50.13           $39,955.29
11/15/2011                     Bank of Texas              Account Analysis Fee                                2600-000                            $129.04           $39,826.25
11/16/2011                     Bank of Texas              Reverse Bank Service Fee                            2600-000                             ($64.52)         $39,890.77
12/14/2011                     Bank of Texas              Account Analysis Fee                                2600-000                             $62.34           $39,828.43
12/29/2011           5001      Myers Reese                Bond Payment                                        2300-000                             $61.65           $39,766.78
01/17/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $64.31           $39,702.47
02/01/2012           5002      Century Asset              Voided to Correct detailed memo                         *                              $1,774.19          $37,928.28
                               Management, Inc.
                                                          Compensation                            $(950.00)   3610-003                                              $37,928.28
                                                          Expenses                                $(824.19)   3620-000                                              $37,928.28
02/01/2012           5002      VOID: Century Asset        Voided to Correct detailed memo                         *                             ($1,774.19)         $39,702.47
                               Management, Inc.
                                                          Compensation                            $950.00     3610-003                                              $39,702.47
                                                          Expenses                                $824.19     3620-003                                              $39,702.47
02/01/2012           5003      Century Asset              Auctioneer Fees & Expenses per c/o                      *                              $1,774.19          $37,928.28
                               Management, Inc.           10/17/11
                                                          Fees                               $(950.00)        3610-000                                              $37,928.28
                                                          Expenses                                $(824.19)   3620-000                                              $37,928.28
02/08/2012            (1)      Hilltop, Inc.              Accounts Receivable- Reversed out                   1121-000             $672.84                          $38,601.12
02/08/2012            (1)      Law Office of Lloyd &      Accounts Receivable                                 1121-000             $207.00                          $38,808.12
                               McDaniel
02/14/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $64.00           $38,744.12
02/21/2012           5004      Bienenstock Court          Court Reporter Services                             2990-000                            $190.00           $38,554.12
                               Reporting
03/14/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $58.75           $38,495.37
04/16/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $60.97           $38,434.40
05/14/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $58.86           $38,375.54
06/14/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $60.71           $38,314.83
07/16/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $58.66           $38,256.17
07/27/2012            (1)      Hilltop, Inc.              Accounts Receivable- Reversed out                   1121-000            ($672.84)                         $37,583.33
08/14/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $60.53           $37,522.80
09/07/2012            (9)      Midwestern Car             Settlement with Midwestern Car Carriers             1229-000           $1,500.00                          $39,022.80
                               Carriers/Randall Wills     per c/o 5/2/12
09/17/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $60.43           $38,962.37
10/15/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $60.03           $38,902.34
11/02/2012            (8)      Strobl & Sharp             Settlement with Ford per c/o 10/26/12               1249-000       $150,000.00                           $188,902.34
11/13/2012           5005      Fifth Third Bank           Share Agreement Order 7/5/12. Ford                  4210-000                          $43,330.88         $145,571.46
                                                          Settlement per c/o 10/26/12
11/15/2012                     Bank of Texas              Account Analysis Fee                                2600-000                             $62.65          $145,508.81
                 10-20759-dob                  Doc 273   Filed 05/19/17              Entered 05/19/17 13:07:32      Page$46,235.40
                                                                                                           $191,744.21
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                                                                                                         SUBTOTALS
                                                                                                                                                             Page No:3
                                                                        FORM 2                                                                           Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          10-20759-DSO                                                                  Trustee Name:                            Randall L. Frank
Case Name:                        TRANSLOGIC AUTO CARRIERS LLC                                                 Bank Name:                                Bank of Texas
Primary Taxpayer ID #:            **-***9275                                                                    Checking Acct #:                         ******0414
Co-Debtor Taxpayer ID #:                                                                                        Account Title:                           DDA
For Period Beginning:              3/2/2010                                                                     Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 5/19/2017                                                                    Separate bond (if applicable):

       1                2                      3                                  4                                                5                 6                   7

   Transaction       Check /             Paid to/                     Description of Transaction                Uniform          Deposit      Disbursement           Balance
      Date            Ref. #          Received From                                                            Tran Code           $               $


12/10/2012           5006      Strobl & Sharp, PC          Special Counsel for Trustee per c/o                     *                             $63,338.25           $82,170.56
                                                           12/05/12
                                                           Fees                              $(57,774.50)      3210-600                                               $82,170.56
                                                           Expenses                             $(5,563.75)    3220-610                                               $82,170.56
12/14/2012                     Bank of Texas               Account Analysis Fee                                2600-000                             $258.49           $81,912.07
12/26/2012           5007      Lambert Leser               Atty Trustee Fees & Expenses per c/o                    *                             $44,126.84           $37,785.23
                                                           12/20/12
                                                           Fees                                $(40,225.00)    3210-000                                               $37,785.23
                                                           Expenses                             $(3,901.84)    3220-000                                               $37,785.23
01/09/2013           5008      Myers-Reese                 Blanket Bond                                        2300-000                               $65.33          $37,719.90
01/16/2013                     Bank of Texas               Account Analysis Fee                                2600-000                             $165.58           $37,554.32
02/14/2013                     Bank of Texas               Account Analysis Fee                                2600-000                               $60.79          $37,493.53
03/14/2013                     Bank of Texas               Account Analysis Fee                                2600-000                               $54.69          $37,438.84
04/12/2013                     Bank of Texas               Account Analysis Fee                                2600-000                               $60.45          $37,378.39
04/30/2013                     Bank of Texas               Account Analysis Fee                                2600-000                               $58.40          $37,319.99
05/31/2013                     Bank of Texas               Account Analysis Fee                                2600-000                               $60.22          $37,259.77
06/28/2013                     Bank of Texas               Account Analysis Fee                                2600-000                               $58.18          $37,201.59
07/31/2013            (6)      General Motors              Settlement with GM per c/o 7/15/13                  1249-000       $100,000.00                            $137,201.59
07/31/2013                     Bank of Texas               Account Analysis Fee                                2600-000                               $60.03         $137,141.56
08/01/2013           5009      McDonald & Associates,      Acct Trustee Fees per c/o 3/05/13                   3410-000                            $2,968.25         $134,173.31
                               CPA's
08/20/2013           5010      Bodman Law                  50% of Mediation - Invoice #480683                  3721-000                             $200.00          $133,973.31
08/30/2013                     Bank of Texas               Account Analysis Fee                                2600-000                             $210.10          $133,763.21
08/30/2013           5011      Fifth Third Bank            Pursuant to c/o 07/05/12                            4210-000                          $10,000.00          $123,763.21
09/04/2013            (7)      Chrysler                    Chrysler Settlement per c/o 7/24/13                 1249-000          $95,000.00                          $218,763.21
09/04/2013           5012      Fifth Third Bank            Chrysler Settlement per Share Agreement             4110-000                          $21,000.00          $197,763.21
                                                           in c/o 7/25/13
09/04/2013           5013      Fifth Third Bank            GM Settlement per c/o 7/15/13                       4110-003                          $10,000.00          $187,763.21
09/04/2013           5013      VOID: Fifth Third Bank      Voided check                                        4110-003                          ($10,000.00)        $197,763.21
09/26/2013           5014      Strobl & Sharp, PC          Special Counsel to Trustee Fees per c/o             3210-600                          $25,000.00          $172,763.21
                                                           9/9/13
09/30/2013                     Bank of Texas               Account Analysis Fee                                2600-000                             $305.95          $172,457.26
10/23/2013           5015      Lambert Leser               Atty Trustee Fees & Expenses per c/o                    *                             $76,447.97           $96,009.29
                                                           10/11/13
                                                           Fees                            $(76,264.00)        3210-000                                               $96,009.29
                                                           Expenses                                $(183.97)   3220-000                                               $96,009.29
10/23/2013           5016      Strobl & Sharp, PC          Special Counsel Fees per c/o 10/10/13               3210-600                          $33,000.00           $63,009.29
10/31/2013                     Bank of Texas               Account Analysis Fee                                2600-000                             $234.43           $62,774.86
11/29/2013                     Bank of Texas               Account Analysis Fee                                2600-000                               $98.03          $62,676.83
12/20/2013           5017      Myers-Reese Insurance       Blanket Bond                                        2300-000                               $95.15          $62,581.68
                               Agency
12/31/2013                     Bank of Texas               Account Analysis Fee                                2600-000                             $101.11           $62,480.57
01/31/2014                     Bank of Texas               Account Analysis Fee                                2600-000                             $100.82           $62,379.75
                 10-20759-dob                Doc 273      Filed 05/19/17              Entered 05/19/17 13:07:32      Page$278,129.06
                                                                                                            $195,000.00
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                                                                                                          SUBTOTALS
                                                                                                                                                             Page No:4
                                                                         FORM 2                                                                          Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           10-20759-DSO                                                                  Trustee Name:                           Randall L. Frank
Case Name:                         TRANSLOGIC AUTO CARRIERS LLC                                                 Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***9275                                                                    Checking Acct #:                        ******0414
Co-Debtor Taxpayer ID #:                                                                                         Account Title:                          DDA
For Period Beginning:              3/2/2010                                                                      Blanket bond (per case limit):          $2,000,000.00
For Period Ending:                 5/19/2017                                                                     Separate bond (if applicable):

       1                2                      3                                   4                                                5                6                   7

   Transaction       Check /             Paid to/                      Description of Transaction                Uniform          Deposit     Disbursement           Balance
      Date            Ref. #          Received From                                                             Tran Code           $              $


02/28/2014                     Bank of Texas                Account Analysis Fee                                2600-000                             $90.92           $62,288.83
03/31/2014                     Bank of Texas                Account Analysis Fee                                2600-000                            $100.51           $62,188.32
04/30/2014                     Bank of Texas                Account Analysis Fee                                2600-000                             $97.11           $62,091.21
05/30/2014                     Bank of Texas                Account Analysis Fee                                2600-000                            $100.19           $61,991.02
06/30/2014                     Bank of Texas                Account Analysis Fee                                2600-000                             $96.80           $61,894.22
12/22/2014           5018      Lambert Leser                Atty. Trustee per c/o 12/22/14                          *                              $2,310.51          $59,583.71
                                                            Fees                               $(2,200.00)      3210-000                                              $59,583.71
                                                            Expenses                                $(110.51)   3220-000                                              $59,583.71
04/22/2015                     Internal Revenue Service     Account Number: ;                                   5300-000                           $2,171.81          $57,411.90
04/22/2015                     Internal Revenue Service     Account Number: ;                                   5800-000                            $447.17           $56,964.73
04/22/2015           5019      U.S. Bankruptcy Court        Account Number: ;                                   2700-000                           $3,809.00          $53,155.73
04/22/2015           5020      Randall L. Frank             Trustee Compensation                                2100-000                          $22,587.21          $30,568.52
04/22/2015           5021      Randall L. Frank             Trustee Expenses                                    2200-000                            $513.18           $30,055.34
04/22/2015           5022      State of Michigan            Account Number: ;                                   5300-000                            $479.43           $29,575.91
04/22/2015           5023      Lisa Koglin                  Account Number: ;                                   5300-000                            $737.97           $28,837.94
04/22/2015           5024      Spike Owens                  Account Number: ;                                   5300-000                           $1,032.11          $27,805.83
04/22/2015           5025      Susan Iseler                 Account Number: ;                                   5300-000                           $1,769.18          $26,036.65
04/22/2015           5026      Kim Ziehm                    Account Number: ;                                   5300-000                           $2,348.22          $23,688.43
04/22/2015           5027      Michelle Jarson              Account Number: ;                                   5300-000                            $888.45           $22,799.98
04/22/2015           5028      Tracy Bicher                 Account Number: ;                                   5300-000                            $161.34           $22,638.64
04/22/2015           5029      Lisa Koglin                  Account Number: ;                                   5400-000                           $5,523.00          $17,115.64
04/22/2015           5030      Susan Iseler                 Account Number: ;                                   5400-000                            $346.16           $16,769.48
04/22/2015           5031      Michelle Jarson              Account Number: ;                                   5400-000                            $970.12           $15,799.36
04/22/2015           5032      Tracy Bicher                 Account Number: ;                                   5400-000                           $2,158.00          $13,641.36
04/22/2015           5033      S.C. Department of           Account Number: ;                                   5800-000                            $346.67           $13,294.69
                               Revenue
04/22/2015           5034      Michigan Department of       Account Number: ;                                   5800-000                            $323.43           $12,971.26
                               Treasury
04/22/2015           5035      Florida Department of        Account Number: ;                                   5800-000                            $137.47           $12,833.79
                               Revenue
04/22/2015           5036      Ohio Department of Job &     Account Number: ;                                   5800-000                             $44.76           $12,789.03
                               Family Services
04/22/2015           5037      NM Taxation & Revenue        Account Number: ;                                   5800-000                            $336.71           $12,452.32
                               Department
04/22/2015           5038      Wyoming Dept. Of             Account Number: ;                                   5800-000                           $4,597.84             $7,854.48
                               Employment
04/22/2015           5039      R. I. Division of Taxation   Account Number: ;                                   5800-000                            $336.71              $7,517.77
04/22/2015           5040      Mississippi Department of    Account Number: ;                                   5800-000                            $550.53              $6,967.24
                               Revenue
04/22/2015           5041      Indiana Department of        Account Number: ;                                   5800-000                             $38.50              $6,928.74
                               Workforce Development


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                                                                                                           SUBTOTALS
                                                                                                                                                           Page No:5
                                                                          FORM 2                                                                       Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           10-20759-DSO                                                               Trustee Name:                            Randall L. Frank
Case Name:                         TRANSLOGIC AUTO CARRIERS LLC                                              Bank Name:                                Bank of Texas
Primary Taxpayer ID #:             **-***9275                                                                 Checking Acct #:                         ******0414
Co-Debtor Taxpayer ID #:                                                                                      Account Title:                           DDA
For Period Beginning:              3/2/2010                                                                   Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 5/19/2017                                                                  Separate bond (if applicable):

       1                2                      3                                   4                                             5                 6                   7

   Transaction       Check /             Paid to/                      Description of Transaction             Uniform          Deposit        Disbursement         Balance
      Date            Ref. #          Received From                                                          Tran Code           $                 $


04/22/2015           5042      Indiana Department of        Account Number: ;                                5800-000                            $1,779.77             $5,148.97
                               Revenue
04/22/2015           5043      Oklahoma Tax Commission      Account Number: ;                                5800-000                            $1,806.08             $3,342.89
04/22/2015           5044      Arkansas Dept. of Finance    Account Number: ;                                5800-000                             $312.47              $3,030.42
                               and Administration
04/22/2015           5045      State of New Jersey          Account Number: ;                                5800-000                            $1,010.14             $2,020.28
04/22/2015           5046      Virginia Department of       Account Number: ;                                5800-000                            $2,020.28                 $0.00
                               Taxation
05/26/2015            (12)     State of Michigan            Unclaimed funds                                  1290-000       $145,724.41                            $145,724.41
08/17/2015            (13)     ATTM Settlement              Settlement                                       1229-000                $70.74                        $145,795.15
09/28/2015            (10)     Lyn Tetreau                  Lyn Tetreau                                      1249-000           $7,500.00                          $153,295.15
10/27/2015           5047      Lambert Leser                Atty. Trustee Fees & Expenses per c/o                *                              $21,563.47         $131,731.68
                                                            10/20/15
                                                            Fees                            $(20,406.00)     3210-000                                              $131,731.68
                                                            Expenses                           $(1,157.47)   3220-000                                              $131,731.68
10/27/2015           5048      Fifth Third Bank             Settlement per c/o 10/13/15                      4110-000                           $62,147.34          $69,584.34
10/27/2015           5049      Michigan Department of       Settlement per c/o 10/13/15                      4110-000                           $11,438.43          $58,145.91
                               Treasury/Revenue/AG
12/11/2015                     VOID: Internal Revenue       Voided Bank Debit, so a check could be           5300-003                           ($2,171.81)         $60,317.72
                               Service                      written
12/11/2015                     VOID: Internal Revenue       Voided Bank Debit, so a check could be           5800-003                            ($447.17)          $60,764.89
                               Service                      written
12/16/2015           5050      Internal Revenue Serivce     Wages                                            5300-000                            $2,171.81          $58,593.08
12/16/2015           5051      Internal Revenue Service                                                      5800-000                             $447.17           $58,145.91
02/02/2016                     Internal Revenue Service     Account Number: ;                                5800-000                             $880.87           $57,265.04
02/02/2016           5052      Randall L. Frank             Trustee Compensation                             2100-000                            $7,664.76          $49,600.28
02/02/2016           5053      Randall L. Frank             Trustee Expenses                                 2200-000                              $75.00           $49,525.28
02/02/2016           5054      S.C. Department of           Account Number: ;                                5800-000                             $682.86           $48,842.42
                               Revenue
02/02/2016           5055      Michigan Department of       Account Number: ;                                5800-000                             $637.13           $48,205.29
                               Treasury
02/02/2016           5056      Florida Department of        Account Number: ;                                5800-000                             $270.81           $47,934.48
                               Revenue
02/02/2016           5057      Ohio Department of Job &     Account Number: ;                                5800-000                              $88.17           $47,846.31
                               Family Services
02/02/2016           5058      NM Taxation & Revenue        Account Number: ;                                5800-000                             $663.29           $47,183.02
                               Department
02/02/2016           5059      Wyoming Dept. Of             Account Number: ;                                5800-000                            $9,057.20          $38,125.82
                               Employment
02/02/2016           5060      R. I. Division of Taxation   Account Number: ;                                5800-000                             $663.29           $37,462.53
02/02/2016           5061      Mississippi Department of    Account Number: ;                                5800-000                            $1,084.47          $36,378.06
                               Revenue


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                                                                                                             $153,295.15
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                                                                                                        SUBTOTALS
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                                                                         FORM 2                                                              Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           10-20759-DSO                                                       Trustee Name:                          Randall L. Frank
Case Name:                         TRANSLOGIC AUTO CARRIERS LLC                                      Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***9275                                                         Checking Acct #:                       ******0414
Co-Debtor Taxpayer ID #:                                                                              Account Title:                         DDA
For Period Beginning:              3/2/2010                                                           Blanket bond (per case limit):         $2,000,000.00
For Period Ending:                 5/19/2017                                                          Separate bond (if applicable):

       1                2                      3                                  4                                      5               6                   7

   Transaction       Check /              Paid to/                    Description of Transaction      Uniform          Deposit     Disbursement          Balance
      Date            Ref. #           Received From                                                 Tran Code           $              $


02/02/2016           5062      Indiana Department of          Account Number: ;                      5800-000                            $75.85           $36,302.21
                               Workforce Development
02/02/2016           5063      Indiana Department of          Account Number: ;                      5800-000                          $3,505.95          $32,796.26
                               Revenue
02/02/2016           5064      Oklahoma Tax Commission        Account Number: ;                      5800-000                          $3,557.76          $29,238.50
02/02/2016           5065      Arkansas Dept. of Finance      Account Number: ;                      5800-000                           $615.53           $28,622.97
                               and Administration
02/02/2016           5066      State of New Jersey            Account Number: ;                      5800-000                          $1,989.86          $26,633.11
02/02/2016           5067      Virginia Department of         Account Number: ;                      5800-000                          $3,979.72          $22,653.39
                               Taxation
02/02/2016           5068      UNITED PARCEL                  Account Number: ;                      7100-000                            $51.84           $22,601.55
                               SERVICE
02/02/2016           5069      Barris, Sott, Denn &           Account Number: ;                      7100-000                           $321.24           $22,280.31
                               Driker, P.L.L.C.
02/02/2016           5070      Strategic Protection Group     Account Number: ;                      7100-000                           $332.31           $21,948.00
02/02/2016           5071      The Waggoners Trucking         Account Number: ;                      7100-000                           $392.82           $21,555.18
02/02/2016           5072      Stewart Trans. Solutions,      Account Number: ;                      7100-000                            $64.97           $21,490.21
                               LLC
02/02/2016           5073      Kerr, Russell and Weber,       Account Number: ;                      7100-000                          $2,206.77          $19,283.44
                               PLC
02/02/2016           5074      BBT Trucking, Inc              Account Number: ;                      7100-000                            $12.94           $19,270.50
02/02/2016           5075      Bill's Auto Transportation     Account Number: ;                      7100-000                            $21.07           $19,249.43
                               Inc
02/02/2016           5076      Janitorial Enterprises, Inc.   Account Number: ;                      7100-000                            $14.58           $19,234.85
02/02/2016           5077      Team Technology, Inc.          Account Number: ;                      7100-000                           $293.65           $18,941.20
02/02/2016           5078      Six Nations, Inc.              Account Number: ;                      7100-000                           $465.65           $18,475.55
02/02/2016           5079      Corporate Lodging              Account Number: ;                      7100-000                                $8.52        $18,467.03
                               Consultants
02/02/2016           5080      Truck Town Transport Inc       Account Number: ;                      7100-000                            $55.86           $18,411.17
02/02/2016           5081      TransCore LP                   Account Number: ;                      7100-000                            $48.48           $18,362.69
02/02/2016           5082      Ray Vickers Auto               Account Number: ;                      7100-000                            $22.16           $18,340.53
                               Transport
02/02/2016           5083      Jeff Rubin                     Account Number: ;                      7100-000                           $416.05           $17,924.48
02/02/2016           5084      DM's Tr dba Donald             Account Number: ;                      7100-000                           $119.09           $17,805.39
                               Murdock Jr
02/02/2016           5085      towXchange                     Account Number: ;                      7100-000                          $1,403.98          $16,401.41
02/02/2016           5086      Metro Transport LLC            Account Number: ;                      7100-000                            $80.88           $16,320.53
02/02/2016           5087      Kruz'n Transport, Inc          Account Number: ;                      7100-000                            $78.79           $16,241.74
02/02/2016           5088      Crawford Auto Transport        Account Number: ;                      7100-000                           $103.02           $16,138.72




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                                                                       FORM 2                                                                       Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           10-20759-DSO                                                              Trustee Name:                          Randall L. Frank
Case Name:                         TRANSLOGIC AUTO CARRIERS LLC                                             Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***9275                                                                Checking Acct #:                       ******0414
Co-Debtor Taxpayer ID #:                                                                                     Account Title:                         DDA
For Period Beginning:              3/2/2010                                                                  Blanket bond (per case limit):         $2,000,000.00
For Period Ending:                 5/19/2017                                                                 Separate bond (if applicable):

       1                2                      3                                 4                                              5               6                   7

   Transaction       Check /             Paid to/                    Description of Transaction              Uniform          Deposit     Disbursement          Balance
      Date            Ref. #          Received From                                                         Tran Code           $              $


02/02/2016           5089      Clerk, US Bankruptcy         Small Dividends                                     *                               $13.91           $16,124.81
                               Court
                                                            Claim Amount                          $(1.96)   7100-001                                             $16,124.81
                                                            Claim Amount                          $(4.91)   7100-001                                             $16,124.81
                                                            Claim Amount                          $(2.94)   7100-001                                             $16,124.81
                                                            Claim Amount                          $(4.10)   7100-001                                             $16,124.81
02/02/2016           5090      Huffmaster Crisis            Account Number: ;                               7100-000                          $1,487.46          $14,637.35
                               Response LLC
02/02/2016           5091      SDL Transportation Inc       Account Number: ;                               7100-000                            $20.68           $14,616.67
02/02/2016           5092      Covey Auto Express, Inc.     Account Number: ;                               7100-000                           $128.12           $14,488.55
02/02/2016           5093      Big Sky Auto Transport       Account Number: ;                               7100-000                            $45.08           $14,443.47
02/02/2016           5094      CNC Holdings                 Account Number: ;                               7100-000                           $237.82           $14,205.65
02/02/2016           5095      Randy McNally                Account Number: ;                               7100-000                            $40.15           $14,165.50
02/02/2016           5096      Coryell & Sons Transport     Account Number: ;                               7100-000                            $66.47           $14,099.03
                               LLC
02/02/2016           5097      Michigan Cat                 Account Number: ;                               7100-000                            $30.22           $14,068.81
02/02/2016           5098      Midwest Auto Carriers, Inc   Account Number: ;                               7100-000                           $227.85           $13,840.96
02/02/2016           5099      MN Transport dba             Account Number: ;                               7100-000                            $15.68           $13,825.28
                               Nicholas, M
02/02/2016           5100      American Express Bank        Account Number: ;                               7100-000                          $1,006.42          $12,818.86
                               FSB
02/02/2016           5101      Wyoming Dept. Of             Account Number: ;                               7100-000                           $267.63           $12,551.23
                               Employment
02/02/2016           5102      Junior Compton Motors,       Account Number: ;                               7100-000                            $14.17           $12,537.06
                               Inc
02/02/2016           5103      Utica-Shelby Automotive,     Account Number: ;                               7100-000                            $31.36           $12,505.70
                               Inc
02/02/2016           5104      Schalte Trucking             Account Number: ;                               7100-000                            $70.56           $12,435.14
02/02/2016           5105      Prestige Auto Transport      Account Number: ;                               7100-000                            $69.91           $12,365.23
                               dba
02/02/2016           5106      Mid-Western Car Carriers,    Account Number: ;                               7100-000                            $85.64           $12,279.59
                               Inc
02/02/2016           5107      U.S. Department of Labor     Account Number: ;                               7100-000                           $207.48           $12,072.11
02/02/2016           5108      U.S. Department of Labor     Account Number: ;                               7100-000                           $104.51           $11,967.60
02/02/2016           5109      Eric Nowakowski              Account Number: ;                               7100-000                            $66.94           $11,900.66
02/02/2016           5110      Constangy, Brooks &          Account Number: ;                               7100-000                           $178.46           $11,722.20
                               Smith
02/02/2016           5111      Bill Keen Trucking, Inc.     Account Number: ;                               7100-000                            $74.15           $11,648.05
02/02/2016           5112      SGS North America, Inc.      Account Number: ;                               7100-000                           $344.37           $11,303.68
02/02/2016           5113      S.C. Department of           Account Number: ;                               7100-000                            $25.43           $11,278.25
                               Revenue
02/02/2016           5114      Marlin Leasing Corporation   Account Number: ;                               7100-000                          $1,003.95          $10,274.30
02/02/2016           5115      Marlin Leasing Corporation   Account Number: ;                               7100-000                           $352.78              $9,921.52
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                                                                                                       SUBTOTALS
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                                                                       FORM 2                                                              Exhibit 9
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                             10-20759-DSO                                                   Trustee Name:                          Randall L. Frank
Case Name:                           TRANSLOGIC AUTO CARRIERS LLC                                  Bank Name:                              Bank of Texas
Primary Taxpayer ID #:               **-***9275                                                     Checking Acct #:                       ******0414
Co-Debtor Taxpayer ID #:                                                                            Account Title:                         DDA
For Period Beginning:                3/2/2010                                                       Blanket bond (per case limit):         $2,000,000.00
For Period Ending:                   5/19/2017                                                      Separate bond (if applicable):

       1                2                        3                              4                                      5               6                   7

   Transaction       Check /               Paid to/                 Description of Transaction      Uniform          Deposit     Disbursement          Balance
      Date            Ref. #            Received From                                              Tran Code           $              $


02/02/2016           5116      Michigan Department of       Account Number: ;                      7100-000                           $156.72              $9,764.80
                               Treasury
02/02/2016           5117      Missionary Auto Sales,       Account Number: ;                      7100-000                            $11.76              $9,753.04
                               Service
02/02/2016           5118      Illinois Department of       Account Number: ;                      7100-000                            $21.99              $9,731.05
                               Employment Security
02/02/2016           5119      Rehmann Robson               Account Number: ;                      7100-000                            $16.94              $9,714.11
02/02/2016           5120      New York State Thruway       Account Number: ;                      7100-000                            $11.71              $9,702.40
                               Authority
02/02/2016           5121      VERIZON WIRELESS             Account Number: ;                      7100-000                           $157.26              $9,545.14
02/02/2016           5122      IKON Financial Services      Account Number: ;                      7100-000                            $19.66              $9,525.48
02/02/2016           5123      Oakwood Transport dba        Account Number: ;                      7100-000                           $529.11              $8,996.37
                               Ontario
02/02/2016           5124      M & M Trucking               Account Number: ;                      7100-000                            $48.02              $8,948.35
02/02/2016           5125      Garnica Auto Transport       Account Number: ;                      7100-000                          $1,103.17             $7,845.18
                               dba
02/02/2016           5126      Asphalt Specialists Inc      Account Number: ;                      7100-000                           $170.71              $7,674.47
02/02/2016           5127      DBI Flatrock, LLC            Account Number: ;                      7100-000                          $5,203.76             $2,470.71
02/02/2016           5128      Leah Building Company,       Account Number: ;                      7100-000                          $1,978.93                 $491.78
                               LLC
02/02/2016           5129      Lovings Transport            Account Number: ;                      7100-000                           $147.00                  $344.78
02/02/2016           5130      AARTS Towing Inc             Account Number: ;                      7100-000                            $14.31                  $330.47
02/02/2016           5131      Loff dba Loeffler, Eric J    Account Number: ;                      7100-000                           $197.58                  $132.89
02/02/2016           5132      Michael McDonald             Account Number: ;                      7100-000                           $132.89                    $0.00
02/16/2016           5086      VOID: Metro Transport                                               7100-003                           ($80.88)                  $80.88
                               LLC
02/16/2016           5094      VOID: CNC Holdings                                                  7100-003                          ($237.82)                 $318.70
02/16/2016           5098      VOID: Midwest Auto                                                  7100-003                          ($227.85)                 $546.55
                               Carriers, Inc
02/16/2016           5132      VOID: Michael McDonald                                              7100-003                          ($132.89)                 $679.44
03/03/2016           5087      VOID: Kruz'n Transport,                                             7100-003                           ($78.79)                 $758.23
                               Inc
03/03/2016           5105      VOID: Prestige Auto                                                 7100-003                           ($69.91)                 $828.14
                               Transport dba
03/03/2016           5131      VOID: Loff dba Loeffler,                                            7100-003                          ($197.58)             $1,025.72
                               Eric J
03/18/2016           5096      VOID: Coryell & Sons                                                7100-003                           ($66.47)             $1,092.19
                               Transport LLC
03/30/2016           5107      VOID: U.S. Department of                                            7100-003                          ($207.48)             $1,299.67
                               Labor
03/30/2016           5108      VOID: U.S. Department of                                            7100-003                          ($104.51)             $1,404.18
                               Labor


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                                                                          FORM 2                                                                       Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           10-20759-DSO                                                               Trustee Name:                            Randall L. Frank
Case Name:                         TRANSLOGIC AUTO CARRIERS LLC                                               Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***9275                                                                 Checking Acct #:                         ******0414
Co-Debtor Taxpayer ID #:                                                                                      Account Title:                           DDA
For Period Beginning:              3/2/2010                                                                   Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 5/19/2017                                                                  Separate bond (if applicable):

       1                2                      3                                    4                                            5                 6                   7

   Transaction       Check /             Paid to/                       Description of Transaction            Uniform          Deposit      Disbursement           Balance
      Date            Ref. #          Received From                                                          Tran Code           $               $


05/25/2016           5076      VOID: Janitorial                                                              7100-003                              ($14.58)            $1,418.76
                               Enterprises, Inc.
05/25/2016           5084      STOP PAYMENT: DM's           Account Number: ;                                7100-004                            ($119.09)             $1,537.85
                               Tr dba Donald Murdock Jr
05/25/2016           5089      VOID: Clerk, US                                                                   *                                 ($13.91)            $1,551.76
                               Bankruptcy Court
                                                            Claim Amount                             $1.96   7100-003                                                  $1,551.76
                                                            Claim Amount                             $4.91   7100-003                                                  $1,551.76
                                                            Claim Amount                             $2.94   7100-003                                                  $1,551.76
                                                            Claim Amount                             $4.10   7100-003                                                  $1,551.76
05/25/2016           5121      STOP PAYMENT:                Account Number: ;                                7100-004                            ($157.26)             $1,709.02
                               VERIZON WIRELESS
05/25/2016           5130      STOP PAYMENT:                Account Number: ;                                7100-004                              ($14.31)            $1,723.33
                               AARTS Towing Inc
12/22/2016                     VOID: Internal Revenue       Voiding Bank Debit to IRS from 2/2/2016          5800-003                            ($880.87)             $2,604.20
                               Service
12/22/2016           5133      Internal Revenue Service     Employer Taxes                                   5800-000                             $880.87              $1,723.33
12/22/2016           5134      CLERK, U.S.                  Registry Funds                                   7100-001                            $1,723.33                 $0.00
                               BANKRUPTCY COURT

                                                                   TOTALS:                                                  $540,039.36        $540,039.36                 $0.00
                                                                       Less: Bank transfers/CDs                              $30,537.21              $0.00
                                                                   Subtotal                                                 $509,502.15        $540,039.36
                                                                       Less: Payments to debtors                                  $0.00              $0.00
                                                                   Net                                                      $509,502.15        $540,039.36


  For the period of 3/2/2010 to 5/19/2017                                               For the entire history of the account between 08/12/2011 to 5/19/2017

  Total Compensable Receipts:                             $509,502.15                   Total Compensable Receipts:                                $509,502.15
  Total Non-Compensable Receipts:                               $0.00                   Total Non-Compensable Receipts:                                  $0.00
  Total Comp/Non Comp Receipts:                           $509,502.15                   Total Comp/Non Comp Receipts:                              $509,502.15
  Total Internal/Transfer Receipts:                        $30,537.21                   Total Internal/Transfer Receipts:                           $30,537.21


  Total Compensable Disbursements:                        $540,039.36                   Total Compensable Disbursements:                           $540,039.36
  Total Non-Compensable Disbursements:                          $0.00                   Total Non-Compensable Disbursements:                             $0.00
  Total Comp/Non Comp Disbursements:                      $540,039.36                   Total Comp/Non Comp Disbursements:                         $540,039.36
  Total Internal/Transfer Disbursements:                        $0.00                   Total Internal/Transfer Disbursements:                           $0.00




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                                                                          FORM 2                                                                       Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          10-20759-DSO                                                                Trustee Name:                            Randall L. Frank
Case Name:                        TRANSLOGIC AUTO CARRIERS LLC                                                Bank Name:                               Sterling Bank
Primary Taxpayer ID #:            **-***9275                                                                  Money Market Acct #:                     ******0759
Co-Debtor Taxpayer ID #:                                                                                      Account Title:                           MMA
For Period Beginning:              3/2/2010                                                                   Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 5/19/2017                                                                  Separate bond (if applicable):

       1                2                      3                                    4                                            5                 6                  7

   Transaction       Check /             Paid to/                       Description of Transaction            Uniform          Deposit        Disbursement          Balance
      Date            Ref. #          Received From                                                          Tran Code           $                 $


08/24/2010                     The Bank of New York         Transfer Funds                                   9999-000                $67.62                                $67.62
                               Mellon
11/29/2010            (1)      Marlin Leasing               Receivable                                       1121-000                $66.72                               $134.34
12/31/2010           (INT)     Sterling Bank                Interest Earned For December                     1270-000                 $0.01                               $134.35
01/31/2011           (INT)     Sterling Bank                Interest Earned For January                      1270-000                 $0.01                               $134.36
02/28/2011           (INT)     Sterling Bank                Interest Earned For February                     1270-000                 $0.01                               $134.37
03/31/2011           (INT)     Sterling Bank                Interest Earned For March                        1270-000                 $0.01                               $134.38
04/29/2011           (INT)     Sterling Bank                Interest Earned For April                        1270-000                 $0.01                               $134.39
05/31/2011           (INT)     Sterling Bank                Interest Earned For May                          1270-000                 $0.01                               $134.40
06/02/2011            (5)      Clarkin Sawyer & Phillips    Turnover of Mass. Settlement                     1241-000          $30,400.00                            $30,534.40
                               PC
06/30/2011           (INT)     Sterling Bank                Interest Earned For June                         1270-000                 $1.05                          $30,535.45
07/29/2011           (INT)     Sterling Bank                Interest Earned For July                         1270-000                 $1.30                          $30,536.75
08/12/2011           (INT)     Sterling Bank                Interest Earned For August 2011                  1270-000                 $0.46                          $30,537.21
08/12/2011                     Bank of Texas                Transfer Funds                                   9999-000                           $30,537.21                  $0.00

                                                                   TOTALS:                                                     $30,537.21       $30,537.21                  $0.00
                                                                       Less: Bank transfers/CDs                                    $67.62       $30,537.21
                                                                   Subtotal                                                    $30,469.59            $0.00
                                                                       Less: Payments to debtors                                    $0.00            $0.00
                                                                   Net                                                         $30,469.59            $0.00


  For the period of 3/2/2010 to 5/19/2017                                               For the entire history of the account between 08/24/2010 to 5/19/2017

  Total Compensable Receipts:                              $30,469.59                   Total Compensable Receipts:                                    $30,469.59
  Total Non-Compensable Receipts:                               $0.00                   Total Non-Compensable Receipts:                                     $0.00
  Total Comp/Non Comp Receipts:                            $30,469.59                   Total Comp/Non Comp Receipts:                                  $30,469.59
  Total Internal/Transfer Receipts:                            $67.62                   Total Internal/Transfer Receipts:                                  $67.62


  Total Compensable Disbursements:                              $0.00                   Total Compensable Disbursements:                                    $0.00
  Total Non-Compensable Disbursements:                          $0.00                   Total Non-Compensable Disbursements:                                $0.00
  Total Comp/Non Comp Disbursements:                            $0.00                   Total Comp/Non Comp Disbursements:                                  $0.00
  Total Internal/Transfer Disbursements:                   $30,537.21                   Total Internal/Transfer Disbursements:                         $30,537.21




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                                                                                                                                                     Page No:11
                                                                      FORM 2                                                                     Exhibit 9
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                        10-20759-DSO                                                              Trustee Name:                          Randall L. Frank
Case Name:                      TRANSLOGIC AUTO CARRIERS LLC                                              Bank Name:                             Sterling Bank
Primary Taxpayer ID #:          **-***9275                                                                Money Market Acct #:                   ******0759
Co-Debtor Taxpayer ID #:                                                                                  Account Title:                         MMA
For Period Beginning:            3/2/2010                                                                 Blanket bond (per case limit):         $2,000,000.00
For Period Ending:               5/19/2017                                                                Separate bond (if applicable):

      1                 2                    3                                  4                                            5               6                 7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit      Disbursement         Balance
     Date             Ref. #         Received From                                                       Tran Code           $               $




                                                                                                                                                NET           ACCOUNT
                                                                         TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE          BALANCES

                                                                                                                        $540,039.36    $540,039.36                  $0.00




 For the period of 3/2/2010 to 5/19/2017                                            For the entire history of the case between 03/02/2010 to 5/19/2017

 Total Compensable Receipts:                          $540,039.36                   Total Compensable Receipts:                              $540,039.36
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                $0.00
 Total Comp/Non Comp Receipts:                        $540,039.36                   Total Comp/Non Comp Receipts:                            $540,039.36
 Total Internal/Transfer Receipts:                     $30,604.83                   Total Internal/Transfer Receipts:                         $30,604.83


 Total Compensable Disbursements:                     $540,039.36                   Total Compensable Disbursements:                         $540,039.36
 Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                           $0.00
 Total Comp/Non Comp Disbursements:                   $540,039.36                   Total Comp/Non Comp Disbursements:                       $540,039.36
 Total Internal/Transfer Disbursements:                $30,604.83                   Total Internal/Transfer Disbursements:                    $30,604.83




                                                                                                     /s/ RANDALL L. FRANK
                                                                                                     RANDALL L. FRANK




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